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                                United States District Court
                                                                                                 •fi/
                               for the Southern District of Georgia
                                       Savannah Division
                                                                           m      ,1P;


                                                   Case No.
                                                                                            I'
                                                                        (to be filled in by the Clerks Office)



     Cordelius Brown

            Plaintiff                              Complaints For Damages (Continuous Violation)

               -V-                                     1.     Discrimination in Violation of Title VII of Civil
    Titlemax of Georgia Inc,                                  Rights Act
                                                               42 U.S.C. § 2000e, et seq.
Insurance Auto Auction Of Rincon,                      2.     Title I of ADA 42 U.S.C. 12112,42 U.S.C. §12203(b),
                                                              42 U.S. Code § 12203(a)
         Greg Ludwig,                                  3.     42 U.S.C. § 1981;
                                                       4.     Retaliation for complaining and opposing unlawful
         Steve Thomas                                         acts
                                                              Section 704(a) of Title VII,U.S.C. §
       Nathaniel Anderson                                     2000e-3(a).O.C.G.A. 34-6A-5
                s
                                                       5.     Harassment and Hostile Work Environment Section
            Erin Fritts                                       703(a) of Title VII, 42U.S.C.2§ 2000e-2(a)3(a)
                                                       6.     Disability Retaliation for complaining and opposing
          Carley Bragg                                        unlawful acts
                                                              O.C.G.A. 34-6A-5
          Jason Broce                                  7.     Defamation
                                                              OCGA§ 51-5-1
         Clay Alexander                                8.     Intentional Infliction of Emotional Distress OCGA §
                                                              51-12-4
         Rachel Hudson                                 9.     Intentional Interference with Employment OCGA §
                                                              51-9-11
       Tabitha McCallum                                10. Fraud by inducement and deceit
                                                              O.C.G.A. §51-6-1
        Kelly Cummlngs                                 11. Wrongful Termination in Violation of Public Policy
                                                       12. Civil Conspiracy
    Tracy Young and Doe 1-5                                   O.C.G.A. §16-4-8
                                                       13. Misrepresentation
          Defendant(s)                                        O.C.G.A. § 51-6-2
                                                       14. Negligence
                                                              O.C.G.A. 51-12-33
                                                       15. Vicarious Liability/Premises Liability
                                                              O.C.G.A. § 51-3-1, O.C.G.A, §51-2-1
                                                       16. Failure to Grant Due Process
                                                              42 U.S.C. § 1983)


                                                   Jiu-y Trial Demand
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Plaintiff Cordelius "Miss Dear" Brown states and alleges as follows for her Complaint

against each Defendant and alleges upon personal knowledge regarding herself and her
own acts, and on belief, regarding all matters set forth in this complaint in its entirety



                                         Introduction


Plaintiff states^ alleges^ and incotporates all Paragraphs of this Complaint fully



          1. In Januaiy 2014, the Plaintiffwas recruited and later hired in February 2014 to

   begin her employment with Titlemax of Georgia. During the Plaintiffs phone interview

   with one of TMX recruiters Ms.AUison; she described TMX as being a company

   offering financial services to meet the needs of consumers, by allowing consumers to use

   their vehicle tides as collateral to obtain funds to meet their financial needs. Ms.AUison

   informed the Plaintiff she sent her information to the Human Resource Department

   however; the senior team would make the final decision to offer employment. The

   plaintiff Cordelius Brown also known as "Miss Dear" or "Dear" (not "DEAR

   BROWN") began her employment with Tidemax of Georgia on February 10, 2014 .

   She held her Associates Degree in Business Management specializing in Human

   Resource with several years of experience in the used car industry. The Plaintiff had the

   experience, character and identity traits, automotive experience and business

   management experience that the Defendants conspired to use and relied upon with the

   intent to use against her and the community for their own financial benefit. Later, in the

   Plaintiff's careerthe Defendants of Titlemax conspired to have the Plaintiff reassigned to
                                                                                                2
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Savannah, Georgia on Februaiy 10, 2020. The Plaintiff alleges that the Defendant
Titlemax of Georgia has conspired against her entire career from 2014 to 2022.

         2.    Titlemax of Georgia is a title pawn lender sometimes referred to as a

   "predatory lender" that opened its first establishment in Columbus, GA 1998. The
   Defendants Tidemax of Georgialater established their corporate office in Savannah,

   Georgia. The mission statement of Titlemax has changed over the years; however, the

   portion of the statement "to provide financial services to those without access to a

   traditional line of credit" did not change during the Plaintiff's employment. The

   Defendants knew or should have known that in 1998 to the current date that millions

   of African Americans, Hispanics and the elderly are the consumers that did not have

   access to what is considered a "traditional line of credit." Most of the TMX

   storefronts are in less fortunate communities; giving those who face financial

   hardships easy access to their service; sadly a possible debt trap. Before Titlemax fell

   under the radar of CFPB they used misleading selling points, omitted facts about the

   product, and unfair collection practices for the advancement of their business.

   Unfortunately it appears that more African Americans are employed by Titiemax and

   more consumers are also African Americans based on both on the Plaintiffs

   experience. Race or color should not be a factor or consideration in making

   employment decisions and the reason for selection decisions should be well

   supported and based on a person's qualifications for the position according to the

   EEOC.
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      3.     "Mr. Young has the ability to control substantially all matters of
significance to the Company, including the strategic direction of our business, the
election and removal of the managers of TMX Finance LLC, the appointment and

removal of our officers, the approval or rejection of a sale, merger,
                                         *
                                                                         "as stated in

the Securities and Exchange Commission Form 10-K for the fiscal year ended

December 31, 2011 by TMX. Mr. Tracy Young has held the same title and authority

since 2011 and he was made aware of the Plaintiff's employment concerns mentioned

in this complaint. Mr. Young chose not to intervene and allowed the top members of

his Human Resource Department and directors to subject the plaintiff to more

retaliation, discrimination, and harassment after she expressed her concerns. Mr.

Young should be required to speak on behalf of his intentional negligence that

injured the plaintiff and should be held liable for the conduct of his staff members.

      4.     The Defendants here in this case must show how their conduct was not


targeted towards the plaintiff and force her to suffer from unlawful acts of ,

discrimination, retaliation, harassment, and /or negligence by using methods of

inducement, fraud, coercion, conspiracy, deceit, defamation, an unfit for duty

scheme, intimidation, buUying, and/ or deception. The Defendants and each of them

must show that their conduct was not intentional, premeditated, reckless, outrageous,

extreme, coerced, unlawful, and done without malice. The Defendant Titlemax failed

to prepare the plaintiff for incidents she would face as a general manager such as

customers liviag in fear of repossession, elderly customers on fixed incomes unable

to pay late fees, customers with health conditions having to pay Titlemax and then
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      borrow the money back in order to get medicine and other detrimental effects of its
      product.

            5.     A belief is not defamation whether written or spoken. The Plaintiff

      alleges and believes herlife was endangered. She was traumatized by events of her

      employment at Tidemax of Georgia and still suffers. The plaintiff asks the courtto

      consider, recognize, and apply the continuous violation doctrine to this case .Also, to

      protect the plaintifffrom future threats of sanctions, and legal fees made by the

      Defendants intended to deter her from seeking relief and advocating for change.

      TMX attorney has already threatened to take action against the Plaintiff if she files

      this complaint here at hand. Any action brought forth should have been done already

      and any brought forth is an act of retaliation.

                                       What About Us


Plaintiff restates^ re-alleges^ and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            6.     The Plaintiff created a petition calling lawmakers to investigate unethical

      business practices at Tidemax in efforts to regulate or change the culture embedded in

      Titlemax that are unlawful and abusive. The Plaintiff has tried so hard to resolve these


      concerns but she has been unsuccessful. Now, she asks the court to hear her ay. The

      Plaintiff should not have to live in fear, live with regret, and live with anxiety just to

      protect the interest of Titlemax of Georgia. The truth cannot be rendered as

      disparaging but be accepted as an act of courage to advocate for change. "What about

      Us?" Was presented to the public, in a public way, and should be part of a public
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      debate. The next generation of children should not be subjected to the business

      practices of Tidemax as alleged: abusive, unethical, deceptive, unfair, and ungodly.
      All assertions in the petition are facts, real experiences, and should be accepted as

      truth. Titlemax did retaliate againstthe Plaintiff for complaining about discrimination,

      the ham the product is causing African Americans, questioning and opposing

      unlawful business practices and behavior.



                                       Nature of Claims


Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            7.     This action before this Court is presented in efforts to provide the

      appropriate relief to the Plaintiff "Pro Se" litigant Cordelius ("Dear, Miss Dear")

      Brown, to correct a pattern of unlawful practices of the Defendants of Titiemax of

      Georgia Inc, TMX employees. Insurance Auto Auctions of Rincon Georgia and

      Doe's 1-5. The Plaintiff was subjected to discriminatory treatment by Titiemax

      employees who also conspired to use the Plaintiff race as a marketing tool, her color

      to determine the side of town she would perform her duties as store manager and

      general manager despite her performance, her gender to suppress her from

      promotion, and her disability to an atrocious act of an unlawful "unfit for duty"

      scheme.


            8.     The Defendants conspired against the plaintiff when she questioned

      business practices that appeared to be reckless, unlawful, unethical, and abusive on its
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face. The plaintiff believes she was acting within her rights to question the patterns

and practices that seem to violate her civil rights and the labor laws presented in this
complaint. The plaintiff has worked coundess hours on the clock and offthe clock

that TMX was aware of. She created material to train her assigned staff members, and

developed honest and transparent relationships with customers. The Plaintiff strategy

seemed to work well for both consumers and TMX however, based on the TMX

adverse action against the Plaintiff this practice seemed detrimental and unwanted by

TMX. The Plaintiff was reassigned to the worst offices in the region for actually

meeting TMX expectations.

      9.     The plaintiff also believed The Defendants and each of them subjected

the plaintiff to intentional, malicious, unwelcomed, coerced harassment, retaliation,

negligence, defamation, intimidation, oppression, and, or unlawful interference of

the plaintiff right to work as an at-will employee in the State of Georgia in the United

States of America. This action is brought forth in violation of Discrimination in

Violation of Titie VII of Civil Rights Act of 1964 42 U.S.C. § 2000e, et seq. ,Titie I

of ADA 42 U.S.C. 12112,42 U.S.C. §12203(b), 42 U.S. Code § 12203(a),42

U.S.C. § 1981;Retaliation for complaining and opposing unlawful acts Section

704(a) of Title VII,U.S.C. § 2000e-3(a),O.C.G.A. 34-6A-5,Harassment and Hostile

Work Environment Section 703(a) of Titie VII, 42U.S.C.2§

2000e-2(a)3(a),Disability Retaliation for complaining and opposing unlawful acts

O.C.G.A. 34-6A-5,Defamation OCGA§ 51-5-1,Intentional Infliction of Emotional

Distress OCGA § 51-12-4, Intentional Interference with Employment OCGA §
                                                                                           7
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      51-9-ll,Fraud by inducement O.C.G.A. §51-6-1,Wrongful Termination in Violation
      of Public Policy, Civil Conspiracy O.C.G.A. §16-4-8 Misrepresentation O.C.G.A. §
      51-6-2, Negligence O.C.G.A. 51-12-33,Vicarious Liability/Premises Liability
      O.C.G.A. § 51-3-1, O.C.G.A. §51-2-l,Failure to Grant Due Process42 U.S.C. §

      1983.


                                      10.    Jurisdiction and Venue


Plaintiff restates^ re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

              11.   This Court has jurisdiction over the subject matter and parties pursuant

      to 28 U.S.C. § 1331, as this case involves questions of federal law. This Court also

      has jurisdiction pursuant to 28 U.S.C. § 1343 because the Plaintiff seeks damages for

      violation of her civil rights and constitutional rights.

              12.   This Court has supplemental jurisdiction over the related state law

      claims pursuant to 28 U.S.C. § 1367(a) because those claims form part of the same

      case or controversy under Article III of the United States Constitution. Plaintiff state

      law claims share all common operative facts with her federal law claims, and the

      parties are identical. Resolving the Plaintiff federal and state claims in a single action

      serves the interests of the judicial economy, convenience, consistency, and faimess for

      each parly.

              13.   The Venue is proper in, and Defendants are subject to the personal

      jurisdiction of this Court because Defendants maintain facilities and operate business

      in this District, and all or most of the events giving rise to this action occurred in this
                                                                                                    8
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      District. 28 U.S.C. § 1391(b). Pursuant to Local Rule 2-l(a), (b), (c), and (d) ofthis
      District. Assignment to the Savannah Division of this court is proper because most
      of the events leading to the Plaintiff complaint took place in Chatham, County.



                                           Parties


Plaintiff restates^ re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            14.    Plaintiff Cordelius "Miss Dear, Dear" Brown, during the relevant times

      was a resident of Chatham County, State of Georgia.

            15.    Plaintiff is informed and believes and thereupon alleges that Defendant

      "TMX" Titlemax of Georgia, Titlemax Family of Companies Is a Georgia limited

      liability company whose principal place of business is located 15 Bull Street, Suite

      200 Savannah, GA 31406 of Chatham County, Georgia

            16.    Plaintiff is informed and believes and thereupon alleges that Defendant

      "lAA" Insurance Auto Auction of Rincon, Insurance Auto Auction whose place of

      business is located 348 Commerce Dr, Rincon, GA 31326 of Effingham County,

      Georgia.

            17.    Plaintiff is informed and believes and thereupon alleges that Defendant

      Tracy Young is an individual and the Chief Executive Officer at Titlemax of Georgia

      and who resides in the County of Chatham, State of Georgia and at all times was

      acting as an executive with authority to act on behalf of all other defendants identified

      in this Complaint.
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      18.    Plaintiff is informed and believes and thereupon alleges that Jason Broce

Human Resource Vice President of TMX as an individual worked at 15 BuU Street,

Suite 200 Savannah, GA 31406, phone number (912) 721-5807 who email address

is jason.broce@titlemax.com      at all times was acting with authority on behalf of

himself and other defendants identified in this complaint.

      19.    Plaintiff is informed and believes and thereupon alleges Clay Alexander

Senior Human Resource Specialist of TMX as an individual worked at 15 Bull

Street, Suite 200 Savannah, GA 31401 whose phone number is 9127216264, and

email address clay.alexander@titlemax.com at aU times was acting with authority

on behalf of himself and other defendants identified in this complaint

      20.    Plaintiff is informed and believes and thereupon alleges Erin Fritts a

Human Resource Representative as an individual that worked at 15 Bull Street, Suite

200 Savannah, GA 31401 whose phone number is 912-721-5954 and email address

is erin.fritts@titlemax.com at all times was acting with authority on behalf of

herself and other defendants identified in this complaint

      21.    Plaintiff is informed and believes and thereupon alleges Carley Braggs a

Benefit Specialist as an individual that worked at 15 Bull Street, Suite 200 Savannah,

GA 31401 whose phone number is 912-721-5954 and email address is

carlev.braggs@titlemax.com at all times was acting with authority on behalf of

herself and other defendants identified in this complaint.

      22.    Plaintiffis informed and believes and thereupon alleges Greg Ludwig

DistrictDirector of Operations as an individual reported to occupants of 15 Bull
                                                                                       10
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Street, Suite 200 Savannah, GA 31401 whose phone number is 912-961-2423 and
email address is greg.ludwig@titlemax.com at all times was acting as an director with
authority and acted on behalf of himself as identified in this complaint.

      23.    Plaintiff is informed and believes and thereupon alleges Steve Thomas

Regional Director of Operations as an individual reported to occupants of 15 Bull

Street, Suite 200 Savannah, GA 31401 whose phone number is 912- 346-9882 and

email address is steve.thomas@titlemax»com at all times was acting as an director

with authority and acted on behalf of himsdf as identified in this complaint

      24.    Plaintiff is informed and believes and thereupon alleges Nathaniel

Anderson Regional Director of Operations as an individual reported to occupants of

15 Bull Street, Suite 200 Savannah, GA 31401 whose email address is

nathanieLanderson@titlemax.com at all times was acting as an director with authority

and acted on behalf of himself as identified in this complaint

      25.    Plaintiff is informed and believes and thereupon alleges Kelly

Cummings Store Manager as Store Manager of Titlebucks as an individual reported

to occupants of 15 Bull Street, Suite 200 Savannah, GA 31401 last work location

known is 5150 Augusta Road, Garden City, GA whose phone number is 912-631-

5182 and email address is kellv.cummings@titlemax.com at all times was acting as

an employee of TMX and acted on behalf of herself as identified in this complaint.

      26.   Plaintiff is informed and believes and thereupon alleges Rachel Hudson

Store Manager of Tidebucks as an individual reported to occupants of 15 BuU Street,

Suite 200 Savannah, GA 31401 last work location known 1976 E Victory Dr,
                                                                                     11
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Savannah, GA 31404 whose phone number is 912-631-2595 and email address is
rachel.hudsnn@titlemax.com at aU times was acting as an employee of TMX and

acted on behalf of herself as identified in this Complaint

      27.    Plaintiff is informed and believes and thereupon alleges Tabitha

McCaUum General Manager of Titlebucks, as an individual reported to occupants of

15 Bull Street, Suite 200 Savannah, GA 31401 and work last work location known

1976 E Victory Dr, Savannah, GA 31404 whose phone number is 912-245-6846
             I




and email address is tabitha.mccullam@titlemax.com at all times was acting as an

employee of TMX and acted on behalf of herself as identified in this Complaint

      28.    Plaintiff is unaware of the true names and capacities of those defendants

sued as Defendants DOES 1 through 5, and seek to sue Defendants by such fictitious

names.



      29.    Plaintiff believes and alleges that each of the Defendants as DOE, was

and is legally, equitably, or in some other actionable manner, responsible for the

events that happened during her employment by intentionally, neglecting their duties

because of direct or imputed negligence or vicarious fault or breach of duty arising

out of the matters alleged, therefore have legally and proximately caused the alleged

injuries and damages to the Plaintiff.

      30.        Each Defendant is the agent, servant and/or employee of the other

Defendant Tracy Young, and Each Defendant was acting within the course and scope

of his, her or its authority as an agent, servant, and/or employee of the other

Defendant. Defendants and each of them, are individuals, corporations, partnerships
                                                                                       12
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      and other entities which engaged in, joined in and conspired with the other

      wrongdoers

            31.    Defendants and each of them are individuals, corporations, partnerships

      and other entities which engaged in, joined in and conspired with the other

      wrongdoers in carrying out the tortious and unlawful activities described in this

      complaint, and Defendants, and each of them, ratified the acts of the other Defendants

      as described in this Complaint. Plaintiff will seek to amend this Complaint once the

      true names and identities of the unknown named DOE Defendants when they are

      revealed. Each of the individual Defendants sued is being sued both in their official

      capacity, and their individual personal capacity.

                                 Administratiye Procedures


Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            32.    Prior to the filing of this Complaint, Plaintiff filed a charge of

      discrimination with the Equal Employment Opportunity Commission ("EEOC"),

      alleging violations of Titie VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e

      et seq("Titie VIF')American with Disability Act. Plaintiff's EEOC charge arises out of

      many of the same facts alleged herein that pertain to her Section 1981 retaliation

      claim. Many of the same facts alleged herein pertains to her defamation, fraud by

      inducement, wrongful termination, vicarious, premises liability, misrepresentation,

      intentional infliction of emotional distress, negligence, interference with employment



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      by third party, and conspiracy led to and or derived out of violation ofall ofthe
      Plaintiffs civil and constitutional rights mentioned in this complaint.

            33.    The Plaintiff made requests to meet with TMX officials many times in

      effortto resolve her concerns. The request was ignored each time therefore TMX did

      not make any attempts to resolve any concerns mentioned in this complaintbut

      continued to subject the Plaintiff to unlawful conduct with the intent to cause harm.

      The Defendants mentioned in this were part of a gang. TMX employees in

      prominent positions are an organized group of lawbreakers and should be

      investigated. The Plaintiff has obtained the Right to Sue Notice from EEOC.

                                       Facts in Dispute

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

                   a.    The position statement the Defendant TMX provided to EEOC is

            filled with misinformation, omission of facts, nonfactual allegations from

            employees that did not work with the plaintiff, and defamation. The defendants

            should be required to explain their assertion and provide evidence that is not

            "hearsay" to support their position, and also reveal the names of each witness

            through discovery. The Plaintiff disputes each and every assertion TMX made

            to EEOC.


                   b.    The Defendants made statements about the Plaintiffs performance

            iQ Savannah when records show the offices were underperforming before the

            plaintiffwas reassigned to District 1 of Titiemax of Georgia Inc. The Plaintiff
                                                                                              14
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            can NOT be held liable for Sxxxxxx of bad debt that was a result of Greg's

            negligence from 2019 when the Plaintiff was reassigned in 2020 and no

            employee can be credited for the work of the Plaintiff when it's was the

            Plaintiff who worked countless hours to correct the performance issues and

            delivered results while working at TMX#2 of Savannah and TB#1 of Garden

            City on the clock and off the clock.

                  c.    TMX position statement is not based on facts and is a bad faith

            argument. The position statement is based on LIES, in efforts to stereotype the

            Plaintiff because she is an African American female. The Plaintiff believes and

            alleges that TMX position only revealed the culture of the business as being

            polluted with Unethical, Deceptive, Misleading, and Corrupt

                  d.    The Plaintiffs life was endangered and TMX must take

            accountability for their actions. The Plaintiff will demand a public written and

            video recorded apology.

                                   Factual AHegalions

                           As Store Manager in Columbus. Georgia

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            34.   November 2017 Plaintiff alleges that she was working as the assistant

      store manager of Titlemax # 1. Then she was promoted to a store manager position

      and reassigned to work at Titlemax #5 of Columbus, GA under the leadership of M.

      King (Caucasian male). M King's performance was not meeting performance metrics
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             prior to the Plaintiff becoming part of his team. By the end of the Plaintiff first month
             at Titlemax # 5 shehad a significant impact on the performance of the office. When

             Frank Chilsom became the District Director and Steve Thomas the Regional Director

             for the Columbus, GA market things changed drastically for the plaintiff. The

             conspired and intentional acts of discrimination, retaliation and harassment were

             frequent without any regard for the plaintiff. The Plaintiff's consistendy delivered

             results month after month. Eventually TMX #5 of Columbus, GA was named the

             number 1 office in May 2018 in the district and or region.^

                    35.       July 2018 Plaintiff alleges that Frank Chilsom reassigned her back to

             Tidemax #1 of Columbus, GA, to work alongside H. McBride (District Director,

             Caucasian male). Prior to the plaintiff going back to Tidemax #1 of Columbus, GA,

             the staff of 5 was not meeting expectations and struggled to do so. Frank stated that

             H. McBride needed to have a good month as the leader of Titlemax # 1 in order to be

             assigned to a District. Frank Chisholm removed T. King (Caucasian male, general

             manager) from the office and informed the Plaintiff of the office performance goals of

             $ xxx,xxx of new revenue and $xx,xxx in recovery. Titlemax failed to promote the

             African American male T. Howard (light skinned, African American male) to a store

             manager position. The plaintiff later requested T. Howard for the store manager

             position under her leadership when she was promoted to General Manager. H.

             McBride was assigned a district the following month because the team of TMX#1

             exceeded expectations. T. King was reassign back to TMX#1 and the team
^ TMX#1 and TMX#5 of Columbus, GA are located on the side of town that has the highest earning potential with more Caucasian consumers.
Throughout the months Frank would have private conversations with the plaintiff about her work and wanted to know how the Plaintiff remained
consistent

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      continued to exceed expectations while the Plaintiff was the store manager atthe
      location month after month; eventually growing the location to $x,xxx,xxx in total

      accounts by October or November of 2018.


                              The Business License Scandal
                                    Columbus. Georgia

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            36.    Plaintiff alleges that in late January 2019, Frank Chilsom reached out to

      her and informed her that she was being promoted to the General Manager position.

      On or Around Feb 3, 2019 the Plaintiff was promoted to a General Manager position

      without training and reassigned to TMX#3 of Columbus, GA.; to a facility that held

      questionable business licenses. The landlord and several officials met at the premises

      on the Plaintiff's first day. They held a meeting standing up next to the Plaintiff desk

      while the Plaintiff was sitting. One of the attendees reminded the landlord that he was

      aware that the facility would be demolished. The State of Georgia intended to

      demolish the facility and reconstruct Exit 3 off 1-185. It was brought to the Plaintiff's

      attention that the business license was not updated and had expired in 2017. Plaintiff

      spoke with Frank Chilsom and he stated he would inform Steve Thomas. The

      meetings continued throughout the year of 2019. In March 2019 Plaintiff alleges that

      T. Howard (light skinned ,African American male) was promoted and worked

      alongside her as the store manager of TMX# 3 May and June 2019 Plaintiff alleges


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that her team was acknowledged for both months as being the number one office in
the district and/or Region by Frank Chilsom.

      37.   August 2019 Plaintiff alleges that Frank Chilsom decided to remove T.

Howard from under her leadership without notice. He was assigned to work with T.

Hill the new general manager reassigned to (light skinned, African American female)

TMX #1 of Columbus, GA. The Plaintiff was not informed that she would need to

prepare to work alone. The Plaintiff had to work many days 10 to 12 hours without

any assistance, lunch breaks and/or off days for the month. The plaintiff opposed this

action and spoke with Frank Chilsom. Around September 3 2019, Frank Chilsom

hired K.Smith as the new store manager (Caucasian female) to work under the

Plaintiff's leadership at Titlemax #3. September 6, 2019 the Plaintiff alleges that the

landlord Paul Olson visited the facility and informed the plaintiff that Titlemax was

aware that the facility was going to be demolished and needed to speak with someone

immediately. Mr. Olson called the police and left the premises. The Plaintiff

forwarded Mr. Olson contact information to Frank Chilsom.

      38.    In October 2019 Plaintiff alleges that she interviewed A.Burton

(Caucasian female) at TMX# 3 of Columbus not knowing that she was interviewing

an individual would later be under her leadership at TMX #5. The Plaintiff was

temporarily reassigned back to TMX#5 of Columbus by Frank to manage and to

discover the performance issue. Frank stated that L. Dennis (brown skinned, African

American female) performance would need to improve so she could later be

promoted to General Manager after the blackout period. Frank Chilsom interviewed
                                                                                          18
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B. Williams (African American male) at TMX# 5 and conspired to have B. Williams
as the Plaintiff new store manager when she returned to TMX #3. The Plaintiff

returned to TMX# 3 around the last week of October 2019. On November 6, 2019

the Plaintiff and her staff arrived before the opening of business; so did B. Williams

and Frank Chilsom. Again the Plaintiffwas not made aware of any changes bemg

made with staffing .Frank Chilsom removed K. Smith from under her management

and sent her to work at TMX #1 with T. Hill. Frank and the Plaintiff had a

conversation about excluding her from discussion about the staffing and using her

performance to reassign employees to bigger offices for the second time. Frank

Chilsom apologized and begged the Plaintiff not to quit. The Plaintiff was crying,

disappointed, and unable to perform her duties. She requested to leave for the day.

November 21, 2019 Plaintiff alleges that McGee Strickland (Caucasian female,

District Director) completed a cross audit at TMX # 3 and she also questioned the

business license at the location. Plaintiff contacted Frank Chilsom regarding the audit

and the business license. Frank expressed that some things were out of his control.

      39.    Early December 2019 Plaintiff alleges that B. Williams was removed

from the office. Frank instructed the Plaintiff how to complete B. William's

evaluation so he could transfer him to a Titlebucks office. The plaintiff worked days

alone and many without lunch breaks or off days again until December 31st. R.

Hayes (Caucasian female) started working as the new store manager at TMX#3 of

Columbus, GA.



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      40.     Around December 14, 2019 the Plaintiff realized that she was the only

general manager in the district and orregion that had outstanding numbers for the
entire year. The Plaintiff felt bad about herperformance and had a heavy heart seeing

how the reports made herstick out like a sore thumb. She recommended procedure
changes thatlabel employees as targets. The Plaintiff alleges thatshe stated to Frank

Chilsom "This is a performance -based company. How does the manager encourage

their team when the reports keep showing them how bad they are doing? The

numbers speak for themselves so target max only adds insult to injury. The damage is

there in red but why does everyone need to see that someone's office is a target...A

target for what?? Replacements. Improvement...What's the logic behind it?"

      41.    A few days later the Plaintiff called Frank Chilsom and informed him

that someone came into the office and stated that the Plaintiff would be personally

responsible for conducting business without proper license and the city would give

her documents to appear in court. Frank was made aware of the visit and he stated

there was nothing he could do but inform Steve. On December 21, 2019 the Plaintiff

alleges that Frank Chilsom texted the team stating "Columbus team, if somebody

from the city comes by about your business license please email me what they give

you. Corporate is working on it. Thanks!" January 9, 2020 Plaintiff alleges that

Frank Chilsom sent a text stating "Good morning! Everybody got an email from

Ashley Cantrell last night at 6 about some docs we have to fill out for our business

license. The Plaintiff alleges that she signed documents for the business license.

Business licenses were issued to TMX #3 in March 2020 for the year 2018 and 2019
                                                                                       20
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for transfer from the now demolished building formerly located at 3707 BuenaVista

Road to the current location of TMX #3 of Columbus, Georgia.

      42.    Under the leadership of Frank Chilsom and Steve Thomas the plaintiff

requested to be demoted to an assistant store manager position to relieve herself of the

unlawful and possible illegal practices as alleged and described. With Human

Resource aiding and abetting Frank and Steve in the conspiracy the plaintiff was

faced with and suffered from a pattern of unlawful discrimination, retaliation, and

harassment. All parties committed, engaged, and or supported acts of intentional

conspiracy, coercion, deceit, misrepresentation, and abuse. The Plaintiff was not a

trainer and did not complete General Manager Training, yet she consistently delivered

results. The Plaintiff had managed 8 employees (5 African Americans, 3 Caucasians)

(3 males and 5 females); she was transferred 3 times, interviewed 3 females that soon

became employees of TMX; she was acknowledged 3 times as the top office, and her

work was used to evaluate other employees 3 times (2 Caucasians and 1 light skinned

African American) (2 males, 1 female) that were all placed in the better side of town

with higher earning potentials. It's not coincidental that the Plaintiff started her career

February 10, 2014 and ended her career February 10, 2020 in the Columbus Georgia

market at TMX #3 which was located on the side of town with the lesser earning

potential.

      43.    Other similar situated general managers were treated more favorably than

the plaintiff because the Plaintiff is a dark skinned African American female. The

plaintiffs skin color was the determining factor when Steve and Frank denied her the
                                                                                         21
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      opportunity to work as general manager on the better side oftown with higher
      earning potentials. Yet, she was able to work under die management of 2 Caucasian

      males as store manager on the better side of town even diough it was the Plaintiff

      work that improved the performance and operation of each entity. However, TMX #

      3 was in good standing because the plaintiff had set the standard and culture for the

      office by developing honest and transparent relationships with her customers that

      were previously misled. And she consistentiy rewarded her team and invested in her

      team's growth while in leadership. The plaintiff developed her own business

      strategies without help from the directors and her own procedures that were 100%

      effective. From 2017 to 2020 the Plaintiff has generated well over $x,xxx,xxxx in

      revenue and profit. Plaintiff generated over $xxx,xxx in profit in an office that

      generated $xx,xxx the 2 years previous years combined at TMX#3. The Defendants

      actions were reckless, unlawful, intentional, and abusive.




                                  "The Reassignment Scandal"
                                       Savannah, Georgia

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fuUy stated herein.

            44.   Febmaiy 9, 2020. Plaintiff alleges that she was contacted after leaving

      church service on a Sunday by Steve Thomas. Steve informed the Plaintiff that she

      would be needed for 2 weeks in the Savannah area. She was instructed to report to

      Tidemax #2 of Savannah on Februaiy 10, 2020. Steve Thomas said that he would

                                                                                            22
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          infoim Rich Stacy, and other executives that the Plaintiff agreed to work in the
          Savannah market for two weeks. The Defendant of Titlemax did not think enough of

          the Plaintiff to set up any hotel arrangements for the Plaintiff as she traveled

          overnight to Savannah GA. The Plaintiff arrived between 4 and 5 a.m. on February

          10, 2020. The Plaintiff reported to TMX#2 of Savannah as instructed at the start of

          business. She met with Steve Thomas and Greg Ludwig at the start of business. This

          meeting was the first time the Plaintiff met Greg Ludwig who stated that the Plaintiff

          would have to get a lawn mower to cut the grass. The Plaintiff asked Steve about the

          business license in Columbus and he stated it was taken care of .Steve Thomas and

          Greg Ludwig conspired to fraudulent induce the plaintiff to agree to being placed in

          Titlemax #2 Savannah by promising plaintiff to make a lot of money in the

          Savannah market, insinuating that the company was working on a relocation package

          that was allegedly the same as the DDO relocation package, and the plaintiff would

          be promoted to a District Director of Operations position.

                     45.        February 12, 2020 Plaintiff alleges that she received the relocation

          package and Titlemax reimburse her around $5,000 toward her relocation expenses

          which was included as wages earned on her check stubs. TMX changed the Plaintiffs

          check stubs for several months to show her hourly rate being around $17.00 per hour

          which they knew was false information.^ Neither Greg nor Steve provided the

          Plaintiff with an overview of the office at no point. She later discovered that she was

          placed in the worst office in the region. The Plaintiffbelieved she had the option to

^ Five thousand dollars is not enough money for someone to leave their whole life behind only to be placed in the worst office in the region. The
Plaintiff was a top performer and delivered results.
                                                                                                                                                    23
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turn down the offer, however she did not. She was already replaced by Anna

(Caucasian female) in Columbus, Georgia on February 10, 2020; the same day the
Plaintiff was conspired and coerced into traveling to Savannah, Georgia. The Plaintiff
completely relied upon the promise of becoming a district director by Greg Ludwig

and Steve Thomas. Shortly after the Plaintiff was reassigned to the Savannah market,

a month or so later the Defendant TMX reconstructed the district by eliminating one

of the district director positions afterterminating Frank Chilsom and then dividing

the offices between remaining district directors who are all Caucasians. Mr. Mike

became the District Director for the Columbus Market and Greg was assigned 10

more offices to oversee. TMX did not close any establishments in either district that

would justify the elimination of the district director position. By reconstructing the

district the defendants denied qualified African Americans the opportunity to become

district director of operations but tremendously increased the earning for the District

Director; while the General Manager pay changed throughout the year at the

discretion of the company.

      46.    M. Walker was the store manager of TMX#2 of Savannah during the

relevant time. She suggested to the Plaintiff to ask Greg Ludwig the reason she had

to come to Savannah so suddenly overnight. The Plaintiff had a conversation with

M. Walker. M. Walker expressed concerns relating to workplace abuse and being

misled by TMX. The Plaintiff could not understand how 50% of customers were

delinquent on their accounts and the unexplainable growth in total accounts. Greg

Ludwig was harassing M. Walker through emails about wanting her to color a TMX
                                                                                         24
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document each night. M. Walker cried hysterically and quit a couple of days later.
Plaintiff observed M. Walker's engagement with the customer and it was clear that she
was misinformed about the product. Greg was made aware of the hostile environment

at TMX#2 because of his behavior and the concerns that were expressed by M.

Walker. The Plaintiff was placed in the worst office in the Region on a distinct side

of town in the less fortunate community despite her performance. She still was not

allowed to perform her duties at locations that had more Caucasian consumers on the

better side of town. Many of the customers of TMX#2 of Savannah believed they

were selling their vehicles and actually called the office and asked the Plaintiff how

much TMX would pay to buy their vehicles. The Plaintiff was in complete shock but

continued to build rapport with customers in effort to correct the performance issue of

TMX#2 of Savannah. Surprisingly, the Plaintiff was warned by the customers that

TMX would replace her in a few months. They would often refer to the office as the

revolving door, just as customers did at TMX#3 of Columbus.

      47.    On or around February 24, 2020 the Plaintiff alleges that she asked Greg

why she was needed in Savannah overnight so suddenly. He expressed that Otto

(during the relevant time the President of TMX) made a surprise visit to the office on

February 8, 2020. By this time, the Plaintiff discovered the performance issue and

projected it would be seven months to turn the office around. There was a sudden

and enormous growth in accounts prior to the Plaintiff being reassigned to the

Savannah market but 50% of the customers were delinquent. Greg was conducting

an audit; this would be the only time Greg would complete an audit the entire time
                                                                                         25
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the Plaintiff managed TMX#2 of Savannah in her presence. The Plaintiff asked Greg
questions about the unexplainable growth, ifTMX was telling customers that they
are buying cars, and why was lAA involved with customer's accounts? The Plaintiff
asked for the agreement with lAA and Greg stated he did not have it. Greg seemed

upset with the Plaintiff as she tried to understand what was going on in the office. It

appeared that Greg did not like being questioned but the Plaintiff needed to

understand how the office was being managed. From that moment Greg seemed

determined to abuse the plaintiff, his authority, and did so moving forward. The

Plaintiff managed two new employees of TMX while being the lead manager in the

office. There was no consideration or regards for the newest team in the district and

Greg's intimidating and harassing conduct became reckless.

      48.    The Plaintiff found herself in tears while speaking to Greg as early as

March 2020. In March 2020, Greg seemed to have a personal issue with Joselle

Garcia (Hispanic female. Store Manager) and he asked the Plaintiff to start keeping

record of Joselle with the intent to terminate her. The Plaintiff expressed to Greg that

she would not do that because she believes Joselle was a great employee and the

request was unprofessional. As the general manager with a heart of compassion and

cheerleader for all of her staff members, the Plaintiff found herself constandy

defending her staff member to Greg often because he constandy harassed her about

Joselle. In May 2020 Greg achieved his goal and terminated Joselle. The Plaintiff

requested a demotion instead of termination of Joselle; however Greg stated that the

Plaintiff can't save Joselle and in his district he does not demote employees. The
                                                                                        26
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           Plaintiff began documenting Greg's behavior because his behavior was not what any
           employee would expect from a supervisor in a prominent position. He behaved like
           his employees were his personal property without any rights, he did not care about

           violating laws, he lacked compassion and respect for employees, nor did he did not

           mind sharing employees personal information and did not perform his job; otherwise

           the corruption of TMX #2 would not have happened. The Plaintiff soon realized

           Human Resource of TMX aided, abetted, and condoned Greg's unlawful and

           unprofessional conduct. It was the culture of TMX.

                       49.         Greg would maliciously, recklessly, intentionally, and frequently behave

           in a manner that was abusive, retaliatory, discriminatory, unlawful, and unjust. He

           was so determined to make the Plaintiff feel uncomfortable he advised the entire

           district to be like the Plaintiff while calling her Dear Brown. The Plaintiff informed

           Greg that she found "Dear Brown to be a bit racist and to reframe for referring to her

           as that He continued sending emails referring to the Plaintiff as Dear Brown but

           would refer to her as Dear during private conversation.^ India expressed to the

           Plaintiff that other General Managers were asking who the Plaintiff was because Greg

           continuously mentioned the Plaintiff in emails in effort to make other General

           Managers feel that they were not doing the best they could. For instance, Greg

           informed his district that the Plaintiff returned to work around 8 to 9 o'clock at night

           to accommodate a customer who was in need of financial assistance but she was a

           nurse and could not come in during normal business hours. He started referring to the

*Greg would make thePlaintiff order her staff to enter theceiling to search for dead animals, and work in anoffice taken over by millions of big jumbo flies. Climb
ladders to remove from the light fixtures which hadbeen therebefore the Plaintiff was even transferred to Savannah. This complaint does not list all of Greg's reckless
conduct as an attempt to keep this complaint short.
                                                                                                                                                                      27
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Plaintiff as the override queen to the district instead ofjust using the Plaintiff drive

for success to encourage his teams to use the tactics to go above and beyond for each
customer.


      50.     On or around June 22 2020 Plaintiff alleges that Greg informed T.

Welch the store manager (previous assistant store manager thatwas terminated April

2020) of TMX#2 of Savannah (Caucasian male) that he was reassigning him to

TMX#1 of Savannah and not to mention it to the Plaintiff. The same conspiracy that

Frank and Steve committed in Columbus, GA was being committed by Greg and

Steve in Savannah. Ted was relocated July 2020 to work on the better side of town

that has more Caucasian customers and a higher earning potential. He would be

placed under the leadership of G. Martinez (light skinned Hispanic male).The

plaintiff was informed she would get a new employee by Greg about one week

before her start date. Again, the Plaintiff had to beg for lunch breaks and a day off.

      51.    On July 20, 2020 The Plaintiff alleges that shei contacted the Human

Resource Department of TMX because she was being treated unfairly. She had

worked a month alone, only given about a week of lunch breaks and no off day. The

Plaintiff was advised that she would have to wait until July 24, 2020 for a day off.

The Plaintiff was advised she could be relieved for a day off on July 24, 2020. The

following day, July 21, 2020 C. Hayes (light brown skinned, African American

female) started her employment with TMX. Greg visited the office the following day

to drop off a key and reassured the Plaintiff she could have July 24, 2020 off. Well,

the Plaintiff did not have July 24, 2020 off because Greg allowed Tabitha M.
                                                                                           28
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(Caucasian female) the day off knowing that he allowed her the week of July fourth
off.


       52.   On August 5, 2020 Plaintiff alleges that for the second time since being

in Savannah, Greg visited the office while the Plaintiff was not in the office to search

for something he could use to justify conduct of intentional retaliation and workplace

abuse. The first time it was as early as March afterhours during the time the Plaintiff

had two brand new employees. This particular time was on the plaintiffs off day;

ironically about 16 days after the plaintiff contacted the Human Resource Department

about not having an off day for a month. C. Hayes was the new store manager and

she informed the Plaintiff that Greg and Steve were at the office, asking her

questions. The Plaintiff arrived at the office and Greg asked to meet with the Plaintiff

immediately and gave her a sheet of paper that he wrote down 25 tilings he found

wrong with the office that were untrue and petty. Noticeably, at the top of the page he

wrote C. Hayes' name for the GMIT program which would have required her to be

transferred to another office because the Plaintiff was not a trainer. To make matters

worse, Greg and Steve visited the office again tiie following day and made the

Plaintiff cany sandbags as if she was a bodybuilder and watched her struggle. After

the Plaintiff completed the task Greg made arrangements for other female general

managers to have a male employee to assist them. Being that C.Hayes was still new

she was not able to assist the Plaintiff with any of the customer concerns, complete

pawn transactions, or answer questions relating to the business. The office was really

busy as Greg witnessed the Plaintiff taking the lead to address the customer concerns.
                                                                                         29
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By 1 p.m. the Plaintiff completed roughly 75 to 100 calls, completed 2 pawn
transactions, completed the bank deposit, and took several payments. Greg knew that

the Plaintiff could not neglect the needs of customers and the daily duties that were

mandatory to complete before a certain time each day. As soon as Greg saw thatthe

Plaintiff was free, he came to her desk and asked her if she was defying him and told

her to clock out and go home and not to come back unless she sent him an email.

Greg then went to the back of the room and removed the Plaintiff schedule from the

wall in front of Steve. Steve smirked but did not say a word

      53.    On August 7, 2020 Greg contacted the Plaintiff through email stating

that he told her not to return to work and he had not received the requested

correspondency. He copied Steve in the email. Plaintiff responded to Greg's email

stating that she left the office not knowing if she had a job or not, she did not

understand what she was sent home for, she was lost for words, and someone

removed the schedule from the wall and more. Later that day. Plaintiff reached out to

Greg for support regarding an error made by G. Hayes; however he ignored the

plaintiff and did not respond to the plaintiff for the entire weekend. On August 10,

2020 Greg called the plaintiff and asked her if she was dumb, then called her a

dummy. He stated that Steve and Rich Stacey consider the plaintiff the dummy of the

region and Steve told him to write the plaintiff up for sending the email with the

wrong response. On August 11, 2020 the Plaintiff reached out for advice from an

attorney and a District Director (who asked to remain anonymous) from another state

because the Plaintiff did not know what to do. Both individuals advised the plaintiff
                                                                                        30
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          to contact Human Resource; so she did the day before signing the write up. The

          information Greg submitted to Clay Alexander were items he held the Plaintiff
          responsible for on her off day such as: bow flags not being placed outside, trash on
          the ground, and a morning report. On or around August 16, 2020 the Plaintiff called
          Human Resource about the write up and informed them that Greg's actions were

          untrue and retaliatory because the Plaintiff requested an off day through the HR

          department on July 20, 2020. Plaintiff expressed to the representative that she did not

          understand what the write up was for, the information was untrue, and this was the

          first time in the Plaintiff's career she had ever been written up. The Plaintiff was told

          that she had to sign the write up but it would be removed from her profile in 6

          months."^

                    54.         September 3, 2020 the plaintiff alleges that Greg sent her a text message

          of a potential customer. Tabitha M. (Caucasian, female General Manager of

          Tidebucks Victory Drive Savannah) was working with the customer earlier that day

          or the previous day at Titlebucks # 2 of Savannah. She was unsuccessful at closing

          the pawn; Greg contacted the Plaintiff. A teachable moment for Tabitha M. to go

          above and beyond for all of her potential customers regardless of race, Greg used the

          moment to intentionally use the Plaintiff race as the motivating factor when he

          directed the Plaintiff to contact the same African American customer. The Plaintiff

          successfully closed the pawn and asked Greg why Tabitha M. was not able to do the

 On August 29,2020 the Plaintiffmessaged Greg about accusationshe made about C. Hayes which she had denied and the intentional abuse and
misuse of the TMX app intended to entice consumers to bury themselves in further debt.. Greg saidhe would have a meeting and he neverattempted to
clear up the false statements he had made. TMX still made thesame assertion in their position statement. C. Hayes hasstill denied theaccusation one
year later in September 2021.

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          same thing? Greg stated he did notknow and to move on. On September 21, 2020
          the Plaintiff alleges that Greg called C.Hayes and advised her that she was going to

          go to another office to provide relief for a day off for another general manager. Again

          Greg communicated with the plaintiffs subordinate without making her aware.

          During the relevant time the plaintiff's store managerwas giving daily lunch breaks

          for Tabitha M. to provide the relief she was entitled to. Once C. Hayes made the

          Plaintiff aware of Greg's call; the Plaintiff contacted Greg and expressed to him that

          she would like to be treated fair and she would like to be included in conversations


          about the staffing. The Plaintiff made Greg aware that G. Hayes TMX#2 of Savannah

          was providing Tabitha M relief every day. Greg hung the phone up while the

          Plaintiff was talking.

                    55.       The following day the Plaintiff contacted Human Resource and spoke

          with Clay Alexander about Greg's disrespectful and unprofessional behavior. The

          plaintiff also mentioned issues that created a hostile work environment and having to

          work in fear because of Greg's conduct. Clay stated Greg will reach out to resolve all

          outstanding matters. Clay was made aware that Greg never reached out. On

          September 26, 2020 the Plaintiff informed Clay Alexander of Human Resource that

          she was afraid of Greg Ludwig again by way of email and that Greg still had not

          reached out. Clay alleged he conducted an investigation while attempting to use a

          screen shot of the Plaintiffs current complaint to justify the behavior of Greg's

          previous acts.^ The plaintiff corrected Clay about the misinformation he asserted in

®speaking with Qay turned out to be the biggest MISTAKE the Plaintiff ever made as an employee of TMX. His behavior became reckless and
malicious. Clay always left the Plaintiff in suspense; wondering whathe wouldsay or do next.
                                                                                                                                          32
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his email. Rather than addressing the Plaintiff's concerns, on September 30, 2020,

Greg Ludwig sent a text message to the district stating "Hey before the month ends I
just wanted to say "Thank you to Rachel for stepping up and taking on a very

difficult temp assignment. A broken store in a bit of a tailspin. The reports don't

always tell the whole story but the truth is she worked her tail off and has the store

and team back to where they can succeed going forward in the immediate

future.Sav3 is going to have a big October based on the momentum she built. Thank

you and thanks to Tabitha for stepping up to hold it down without ever once

complaining about coverage. She just made it work for the team! And grew 9%

herself.     The Plaintiff felt that Greg intentionally tried to create animosity between

the plaintiff all black female office and the all Caucasian female office of Titlebucks.

He praised Rachel for not meeting performance measures and taking huge losses and

Tabitha for not complaining about coverage. Greg was well aware that the Plaintiff

had completely balanced and turned around TMX#2 Savannah due to an

unexplainable growth from his previous team while being bullied, harassed, made

mockery of, discriminated against, retaliated against, and treated less favorably. He

also was aware of the Plaintiffs team ensured Tabitha she had relief.

      56.    As Greg made no attempts to resolve the concerns of workplace abuse;

he also neglected his duty to ensure that the Plaintiff and the other African American

female worked in a safe facility. The plaintiffmade countless reports, sent many

photos, and many calls about the suspicious activities at TMX#2 the entire month of

September. Greg never visited the site to check out the premises. The plaintiff
                                                                                         33
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      reported needles found on the ground, bricks being thrown at the building, the entire
      commercial dumpster emptied in the parking lot, and hearing people talking behind

      thebuilding as she did her daily activities and more. The Plaintiff became depressed

      and overwhelmed with the constant abuse of Greg Ludwig. The Plaintiff reached out

      to another general manager in a different district for guidance on requesting a FMLA

      leave of absence.


                                "God's Hedge of Protection "
                                Eohesians 6:13-17 rNKJV):

(13) Therefore take up the whole armor of God, that you may be able to withstand in the

evil day, and having done all, to stand. (14) Stand therefore, having girded your waist with

truth, having put on the breastplate of righteousness, (15) and having shod your feet with

the preparation of the gospel ofpeace; (16) above all, taking the shield offaith with which

you will be able to quench all the fiery darts of the wicked one. (17) And take the helmet of

salvation, and the sword of the Spirit, which is the word ofGodi



            57.    On October 6, 2020 the Plaintiff was faced with a traumatizing event

      that changed her life. The Plaintiff exercised her rights to take a leave of absence

      under FMLA. TMX received notice of the protected activity via email sent to

      Human Resource, Greg Ludwig, and Steve Thomas. The email included an

      attachment of documents from an FMLA source that listed the plaintiffs disability,

      and details of the incident that led to the leave of absence that day. Also inserted in

      the body of the email were photos of the parties that jumped out the back of an

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             unmarked white van located at the rear of the premises. The individuals spit on the

              plaintiff, threw a chair atthe plaintiff, attempted to stab the plaintiff with a needle,
              and run her over. Plaintiff believed that the parties were attempting to physically

              harm her and or abduct her for an unknown reason. On October 7, 2020 Erin Fritts

              of Human Resource directed the Plaintiff to send her a personal email detailing the

              incident of the previous day although every staff member of Human Resource

              received the notice described above.® October 8, 2020, strangely Rachel H. wanted

              to find out the event of October 6, 2020 as if she was investigating the incident.

              Rachel H. (Caucasian, female) the store manager of Titlebucks #2 Savannah stated "U

              don't know why ur not at work really!! !!! " U going to tell me what happened??

              Why didn't u tell me when u text me for Tabatha phone #? I'm not going to tell

              anybody!!!!!" The Plaintiff was released to return to work on November 2, 2020 by

              her medical provider and Tidemax received the notice around October 16, 2020.

                            58.           On November 2, 2020 the Plaintiff alleges that TMX did not allow the

              plaintiff to return to work after she was released by her medical provider. The plaintiff

              was told by Greg Ludwig and Steve Thomas to leave the premises and to contact

              Human Resource. Clay Alexander of Human Resource contacted the Plaintiff and

             informed her that TMX wanted to ensure the facility was safe and equipped with

              cameras before she returned to work; she would be placed on a paid administrative

             leave. The Plaintiff informed Clay that she was made aware that Greg Ludwig denied

             the store manager C.Hayes a day off and that her early day should be considered her
  ThenoHce ErinracelvedIs the onlynoticementioned toEEOC by TMX. TMX completely omitted detailsot the noUce tmmOctober 6. 2020thatcieaiiymadeGreg. Steve and the entireHR department awareor
plaintltr disability andtheincident thathadoccurred onTMX premises. TMX also alleged thattheyreviewed cameras anddidnotcapture theincident andthey were unable to pull footage. Welt, there were nocameras
on theexteciof ol thebuilding and Greg stated September 3.2020'We needcameras". Atnopointwere camerasInstalled between September 3.2020to October 6. 2020. ThePlaintiff would have hadtosignforthe
sen/Ice.


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      off day. Clay Alexander was informed that C. Hayes the former employee had
      concerns of feeling like working on a plantation and being treated like a slave. The

      plaintiff went further to discuss in great detail her concerns about being discriminated
      against, retaliated against, disrespected, harassed, neglected, and constantly being

      treated differently from Caucasian and light skinned employees by Steve Thomas and

      Greg Ludwig. She informed Clay for the 3rd time that Greg never reached out to

      resolve any of the issues pertaining to her complaint in September. The Plaintiffwas

      off of work for 4 months without any documentation while under the impression

      TMX was installing cameras.

                                  "The Unfit for Duly Scandal"


Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            59.    On or around February 8, 2021 Plaintiff alleges that Clay Alexander

      contacted her and asked her what she wanted to do as far as work. Plaintiff stated she


      was ready to return to work and she expressed to him that she would like to have

      lunch breaks and off days. The Plaintiff asked Clay if the company addressed the

      concerns she brought forth regarding discrimination, retaliation, harassment,

      bullying, and abuse. He ignored the question and rushed off the phone. The

      following day Carley Bragg (Benefits Specialist) contacted the Plaintiff alleging that

      the Plaintiff medical provider ignored her for 4 months and she believed it was due to

      the holidays. The Plaintiff asked Carley Bragg for the dates and time she attempted to

      make contact with the Plaintiffs medical provider; Carley did not provide any of the
                                                                                             36
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            requested information. The plaintiff reached outto her medical provider and she
            informed the Plaintiff that TMX has not attempted to contact her at no point but she

            would call Ms. Braggs. The Plaintiff continued to communicate with Carley Bragg

             and her medical provider for several days. On Februaiy 18, 2020 Carley Bragg sent

             documents to the Plaintiff's medical provider without making the Plaintiff aware that

            she was doing so. When the Plaintiff went to her next appointment; she was provided

            with the documents that C. Bragg sent.

                         60.        On March 16, 2021 Plaintiff alleges that Clay contacted her again and

            instructed her to contact Greg and Steve to get the day she would return to work. The

            Plaintiff contacted Greg and Steve, as instructed by Clay to get her return date to

            work. Greg Ludwig called the Plaintiff stating that he or Steve Thomas was not

             aware that the Plaintiff was returning to work, so therefore there were not any

            arrangements made but he would speak with Steve and figure things out.^ On March

             17, 2021 Greg Ludwig contacted the Plaintiff and directed her to report to

            Titlebucks#l of Garden City and the office was in good standings. He went on to

            state that he discussed with Tabitha, Rachel, and another employee the health of the

            Plaintiff while she was out on FMLA. Greg stated that only Tabitha and Rachel

            shared information with him then expressed that he did not know the Plaintiff felt the

            way she did. Plaintiff asked why would Rachel and Tabitha talk to him about

            her,Greg said he went to them while the Plaintiff was on FMLA then he rushed off

            the phone and sent a YouTube video to the Plaintiff. On March 18, 2021 the Plaintiff

^ Plaintiffsliared the conversation with Rachel. On March 17,2021 Rachel stated, "That's so weird right? 1doubt uwould go back to TM2 becauseof issues there '•"Sooooo nice
chatting with you again!!!!!!"

                                                                                                                                                                              37
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reported to Titlebucks Garden City, GA where she would perform her duties as
general manager. Plaintiff was placed in an office that was not similarly situated to the
office she was working in prior to her leave of absence under FMLA. Defendants did
not provide the plaintiff any reason why she was being relocated to a less profitable
office located 25 to 30 minutes away in another, less fortunate area. Plaintiffwas

placed in the worst performing office in the region for the second time after

performing well while the TMX conspired to replace her with Caucasian females.

The plaintiff was forced to work in a hostile work environment created by the TMX

knowingly and willingly using the Plaintiff race as the motivating factor to target

African American on a certain side of town to improve performance which led to

financial gains for themselves.

      61.    It was evident that the Plaintiff was not going to be promoted to District

Director. The Plaintiff was forced to work under pressure to prove she was an asset to

the company and just as worthy as Caucasian and light skinned employees. Plaintiff

was still coded for Administrative Leave and did not have access to the system.

Human Resources advised the Plaintiff that Greg knew that the Plaintiff should not

have been working while coded for administrative leave and it would take 2 weeks to

change the plaintiff status. This same office was failing and ranked the lowest

performing office 1 year prior in February 2020 when plaintiff was fraudulently

induced to relocate to Savannah as mentioned above. Ashley Jones (Caucasian

female) was appointed as the new general manager of TMX #2 Savannah March

2021. The Plaintiff spent many hours providing extraordinary services while
                                                                                        38
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working under the conditions that created ahostile environment that made her feel
unworthy, and less than all similarly situated employees that were males, Caucasians,

and African American that were lighter than her color. TMX had no regard for the

Plaintiff when she was forced to watch report after report showcasing Ashley ranked

#1 for slow file ranking while she ranked last place in the region. The same exact

disregard when the Plaintiff was replaced by Anna in the Columbus market.

      62.    On March 26, 2021 Plaintiff alleges that she contacted Human Resource

with concerns of the office, the reason she was off of work for 4 months, and placed

in an office that was the worst in the district. Clay contacted the Plaintiff around

March 29, 2021 to address the Plaintiffs concern. Clay informed the Plaintiff that she

was off of work because the Plaintiff's medical provider recommended it. The

Plaintiff informed Clay that she was not aware of the recommendation and requested

the documents. Clay then stated the Plaintiff was off for an investigation. The

Plaintiff asked when anyone was going to inform her she was being investigated and

if the investigation was the reason she was placed in the worst office in the region.

Clay stated because of the company's needs is the reason the Plaintiff was reassigned.

Plaintiff alleges that she also asked Greg why he placed her in the Garden City office

and if the incident on October 6, 2020 had something to do with her being placed in

the worst office in the region. TMX is a performance-based company; the decision

maker(s) disregarded the Plaintiff performance and placed her in an office on a certain

side of town. The Plaintiff contacted Tracy Young (CEO) and Otto Bliess (President

at the time) regarding her concerns. Jason called the same day. Then around April 7,
                                                                                        39
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            2021 Jason Broce contacted the Plaintiff and Jason started off misleading the Plaintiff

            and tried to force her to accept being discriminated against and misled about the

            allegation made against her medical provider. The Plaintiff contacted EEOC and
            spoke with a representative who instructed the Plaintiff to set up the initial intake
            interview which she scheduled for June 17, 2021.® The Defendants of TMX

            harassed, humiliated, and made mockeiy of the Plaintiff. TMX bullied and conspired

            against the Plaintiff until her last day of employment. The conduct and behavior of

            the Defendants was CONSTANT, reckless, premeditated, malicious, intentional, and

            unlawful. It was so awful the Plaintiff felt gang up against, powerless, alone, fearful,

            cornered, and worthless; she was in disbelief and requested a demotion to Assistant

            Store Manager Position. Clay and Jason had complete disregard of the Plaintiff as a

            human being. Greg's behavior was supported and justified by the Human Resource

            Department because one of them was aiding and abetting at all times.

                        63.          The Plaintiff alleges both offices she managed in the Savannah was

            ranked #1 plaintiff (Garden City) and #2 (TMX#2 of Savannah) for slow files.

            Rachel the Plaintiffs subordinate suddenly felt empowered to continue making

            unwelcome comments to the Plaintiff such as the text on April 2, 2021; Rachel H.

            stated "Yes ma'am, u better put some glasses on and read that fine print!!!!!!" "Mighty

            funny u got the time to answer my text fast NOW Imao!!!" and Oohhhhh u at the

            Motel getting a quickie" On or around April 6, 2021 Plaintiff alleges that she made

' Ifthedefendants allege that theplaintiff was failing, then thereports should show that Ashley Jones received afailing office. Othenvise thedefendants must admit that the only
reason the numbers from October 2021andmovingforward is a directresultof the plaintiffs hard workthatAshleyJones wasacknowledged for. Shedid not walkinto a broken
office.




                                                                                                                                                                                   40
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Rachel aware of the conversation she had with Greg on March 17, 2021 and Rachel

became upset. Rachel stated she would call, however; she never called. Rachel did

notspeak with the plaintiff again until April 16, 2021 and that is when she disclosed
the Plaintiffs schedule to the entire District without her permission and confirming

that TMX are working office employees without lunch breaks and off days. The

Plaintiff alleges that Greg Ludwig was made aware through email that the plaintiff

asked for a demotion and informed him that she refused to be bullied, discriminated

against, and retaliated against for the needs of the company. The Plaintiffwas faced

with many concerning customers that were faced with a dilemma to choose between

their tide pawn and their quality of life. The Plaintiff was never informed that there

would be moments in her career she would have to lift up customers and place them

in their vehicle. Every customer that was facing health issues or struggled to maintain

their accounts were African Americans, this was concerning to the Plaintiff.

Customers were calling in before surgery just to make payments because they feared

repossession, coming into the office crying, while others just simply gave up. Again

the Plaintiff had to build relationships with transparency because the customers were

misled about the services TMX provided. There is one performance metric that TMX

does not discuss which has a direct impact on the consumers but depreciates the value

of the business overall. Therefore customers are not being encouraged to pay off

their accounts.


      64.    The month of April was so AWFUL month but the true culture

embedded in TMX was revealed. April 16, 2021 Plaintiff sent an email to Greg
                                                                                         41
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requesting for an adjustment for expense because TMX knowingly and willingly
paid Kelly Cummings (Caucasian, female) for the work the plaintiff had done. Kelly
had not worked a single day in the office. Greg forwarded the Plaintiff request to

someone else. The request was ignored. April 17, 2021 Clay reached out to the

Plaintiff about the email she had sent regarding the slow file. She shared with Clay

that she sent an email with good intent and at least one person called her for advice.

April 21, 2021 Greg Ludwig sent a subliminal email to humiliate and to make

mockery of the Plaintiff. Greg sent the slow file report and he flipped it upside down

to show the Plaintiff office at the bottom of the district. In his email he wrote

"Savannah 3 has sole possession of first place. Oh never mind it's upside down. The

Plaintiff slow file was ranked # 1. April 22, 2021 at 9:50 a.m. The Plaintiff received

an anonymous phone call from Clay Alexander that was answered and transferred by

Kelly Cummings from work station number 2 to work station number 1. Clay

identified himself as Clay from Human Resource to Kelly. Kelly got the Plaintiffs

attention and stated "Clay from Human Resource is on the phone for you. It's

strange that someone from Human Resource is calling from an anonymous number."

During the conversation with Clay Alexander, he tried to convince the Plaintiff to

quit. He stated he sent the plaintiff an email a few days prior and he wanted to follow

up." During the conversation Clay made statements like, why won't you just quit. If

you don't like your job just quit. You said you are unhappy with my decisions and

you should just quit. The Plaintiff defended herself and informed Clay that his

behavior was unprofessional. Clay knew that the Plaintiff never had a conversation
                                                                                         42
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with him or anyone else about not liking her job. Then the Plaintiff responded to
Clay's after speaking with him. The plaintiff called EEOC and was directed to
continue to keep records until the initial interview. The Plaintiffs also responded to
the email Clay sent that he referenced during the phone call. Plaintiff spent her lunch

break crying. April 26, 2021 Plaintiff alleges that she reached out to Otto Bliess (at

the relevant time President of TMX) and Tracy Young (CEO) again. Jason called

and emailed the plaintiff a few days later calling the Plaintiff a liar, offering her

$xxxxxxxxx to quit after discussing the business license issue, the customers hurting

from the product and Steve intentionally misleading the plaintiff. Jason continued

trying to force the Plaintiff to accept being discriminated against and saying things

that were very hurtful to the Plaintiff. Tracy Young was made aware of the reckless

behavior of his HR employees after being bullied, disrespected, and retaliated against;

while human resources representatives sent emails that were different from phone

conversations.


      65.    On or April 27th 2021 Jason Broce acknowledged the Plaintiff declined

all offers made by the company. Then he asked what additional resolution the

plaintiff was seeking as if he did not offer the plaintiff $xxxxxxxx which she

declined. The plaintiff stated an amount of around $xxxxxxxx in efforts to give back

to the communities. $xxxxxxxxxxx was not enough to establish 1 group home for

the children at the border, 1 group home for the homeless people and 1 learning

center in 18 states but it was enough to establish the organizations in Columbus, GA

(where Tidemax started its business) and Savannah, GA (where Titlemax established
                                                                                         43
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its corporate office. Then Jason asked the Plaintiff if she wanted the company to pay

her Sxxxxxxxxxx again knowing that nowhere in the plaintiff email she requested
the same amount he presented a few days before. Jason was very condescending,

threatening, and abusive. Jason was the main person pretending to care, investigate,

and resolve the plaintiffs concerns knowing he was doing things that intentionally

created a hostile work environment.


      66.    A reasonable person would not expect a group of professionals to

behave the way Jason and Clay behaved. It was truly unbelievable. Jason only talked

to the Plaintiff to see what her concerns were and then used the information to cover

up everybody's wrong doings. For example when the Plaintiff mentioned Otto's

name and the concerns of the community. A week later Otto was no longer with the

company and Tracy Young sent his first notice to the company emphasizing

something about helping communities. When she mentioned Steve, he was

transferred to Tennessee. When she mentioned the promise of a District Director

position the company started discussing area manager positions. When she

mentioned that Jason was stressing her out, TMX sent out mental health training the

next day. When the Plaintiff mentioned Greg not completing audits with the Plaintiff

like he did for lighter skinned or Caucasian employees Greg enters the office with a

lighter skin General manager whose performance was not as good as the Plaintiff;

yet she was used to intimidate and further make the Plaintiff feel less than. Niya

completed the audit of the Plaintiffs and Greg was using an African American female

to do his dirty work. There is no justification for someone in the same position as the
                                                                                       44
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Plaintiff, who was not performing as well as the Plaintiff to do the job Greg was

being paid to do nor was it a common practice.

      67.   No matter how much the Plaintiff asked to be left alone the behavior

continued. On or around May 5, 2021 Plaintiff alleges that she reached out to

Human Resource for guidance to get her concerns addressed with honesty and

transparency because it was apparent that Jason and Clay took the Plaintiff concerns

as a joke. Jason Broce stated he was the top official and there was not anyone else

who could assist the plaintiff. Plaintiff informed Jason Broce that she contacted

EEOC for further assistance. On or Around May 12, 2021 Greg Ludwig visited the

Plaintiff work location while she was out on PTO and deleted the Plaintiff


information from the computer. For the second time in Savannah, the Plaintiff

information was deleted from the computer and could not be retrieved and TMX was

notified to reserve documents by a federal agency. On May 20, 2021 Plaintiff alleges

that she requested to review her personnel file with Greg Ludwig who forwarded the

request to Human Resource. The next day Human Resource refused the request and

instructed her to review Ultipro. Ultipro only had the Plaintiff contact information

and no documents uploaded. TMX suggested the plaintiff speak with her medical

provider regarding her concerns. Plaintiff asked why she was misled by the Human

Resource department about the administrative leave. Plaintiff asked for a conference

call with her medical provider and Human Resource to clear up the

misunderstanding. The Defendant did not respond to the request. The Plaintiff made



                                                                                       45
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many requests to meet in person because itwas difficult for her to see while typing
due to an eye condition.

      68.    May 24, 2021 Plaintiff alleges that Alexandria Tropea (Defendant's

Counsel) and Jason Broce contacted the plaintiff due to her protected activity.

Alexandria Tropea the plaintiff that state she was diagnosed as suicidal and a threat to

herself by the associates of Human Resource and that was the honest reason she was

off of work for 4 months. Alexandria expresses while on FMLA the Plaintiffs visited

employees, and that said something to Rachel and Tabitha that made the company

diagnosis her as suicidal. That information was reported by Greg Ludwig while the

Plaintiff was on FMLA. The Plaintiff expressed to Alexandria Tropea that she did not

recall visiting Rachel and Tabitha and she did not have a friendship with them. The

Plaintiff requested the days of such incidents. Alexandria avoided the question and

advised the Plaintiff that she could not speak with an attorney about the information

she revealed and if the Plaintiff did she would no longer be able to speak with her.

The Plaintiff was in total shock and humiliated. If the Defendant's believed the

Plaintiff was suicidal TMX did not think enough of the Plaintiff life to try to save it.

For three months the Plaintiff was misled, bullied, harassed, threatened, behtded,

retaliated, discriminated and conspired against. TMX conduct and Tracy Young

negligence left the Plaintiff wondering the true intention of reassigning her to District

1 of TMX. After hearing Alexandria Tropea make such a statement the Plaintiff gave

up on trying to resolve her concerns however; the abuse by the Defendants

mentioned in the complaint continued.

                                                                                       46
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      69.    June 1, 2021 Plaintiff alleges that Steve Thomas was relocated to the

Tennessee market after the Plaintiff made Jason Broce aware of Steve unlawful and

reckless behavior. To cover up the wrong doings of Steve, Greg and Human

Resource, Titlemax brought Nathaniel Anderson to the District as the Regional

Director several days later, and used him to aid and abet in unlawful activities against

the Plaintiff. Each person in Human Resource, the owner Tracy Young, Greg

Ludwig, and Erin Fritts were 100% aware of the Plaintiffs protected activity and

were also aware that Kelly Gumming violated company policy.

                                  "The Final Blow"


      70.    June 4, 2021 Plaintiff alleges that she emailed Greg Ludwig about a

notice she received regarding FMLA. Records show that Greg Ludwig forwarded the

Plaintiff email to Glay Alexander less than one hour of receiving the email. Glay

Alexander then forwarded the notice to Garley Bragg. Garley Bragg responded to the

plaintiffs concerns around 2:30. Around 4:30pm on June 4, 2021 Greg Ludwig

texted the Plaintiff and informed her that he was on PTO and would address her

concerns when he returned. June 7, 2021 Plaintiffalleges that Kelly Gummings sent

an email to have a vehicle removed from the premises. She sent the email/ copied to a

Titlemax of Alabama, Greg Ludwig and the office email. Kelly failed to follow

protocol and violated the TMX policy. June 8, 2021 Plaintiff alleges that Greg

Ludwig sent the Plaintiff email regarding FMLA concerns to the entire benefit

department knowing that he had already reached out to Human Resource to address

the Plaintiff concerns. Plaintiff requested that Greg Ludwig stop forwarding her
                                                                                      47
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personal concerns to an entire department when he is aware that there is an assigned
associate to address the individual concerns of employees regarding FMLA. She

requested that Greg inform her who to contact and she would follow up with the
representative. The Plaintiff thought Erin was the representative and mentioned her
name in the email. Human Resource Responded and defended Greg's actions.

Plaintiff suggested a meeting in person. For the third time Plaintiff alleges that she

sent an email to Tracy Young (the owner) and made him aware that his Human

Resource department integrity had been compromised and some of the

representative's conduct did not line up with the company core values.

      71.    June 9, 2021 Plaintiff alleges that the Defendant disabled her ability to

send emails. Jason Broce was made aware that the company disabled the plaintiffs

ability to send an email from the company's assigned email address. Jason Broce sent

the plaintiff an email at the time threatening to terminate the plaintiff for reaching out

to Tracy Young (CEO) regarding the integrity of the human resource representatives.

The Plaintiff had contacted an office in Alabama and had an employee send a test

email to see if her ability to send email was restricted also. Plaintiff received an email

but she was not able to reply. TMX and lAA had a vehicle removed from the

premises illegally. Kelly was off of work. The owner of the vehicle was sitting in the

office of her business as her vehicle was being wrongfully repossessed. The vendor

that removed the vehicle did not follow the repossession law of Georgia by reporting

the repossession to law enforcement or verifying the VIN number. Once the plaintiff

was made aware of the error she immediately worked to resolve the issue to have the
                                                                                         48
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vehicle returned. lAA refused to release the vehicle. lAA did not return it either.

Plaintiff responded to Jason Broce and Alexandria's email from her personal email.
She made Jason Aware that she believed he was engaging in cover up to protect the

unlawful activities of the executives and ask to be left alone again.

      72.    June 10, 2021 Plaintiff alleges that she continued to work to have the

vehicle return. TMX enabled the Plaintiffs ability to send emails again. Kelly

Cummings returned to work. Plaintiff left early that day because of her health. The

vehiclewas returned. Jason Broce had finally honored the plaintiffs request to be left

alone and he sent a recommendation for a wellness program. Greg communicated

with Kelly Cummings about the wrongful repossession that took place and requested

photos of the vehicle. He did not ask the plaintiff anything about the incident as the

leading manager in the office. The Plaintiff informed. Kelly Cummings spoke with

law enforcement and gave him false information. Kelly and Greg communicated with

each other and no one spoke to the Plaintiff.

      73.    June 11, 2021 Plaintiff alleges that the Defendants forced the plaintiff to

work the entire day knowing their intention was to terminate the plaintiff. Around

4:45 p.m. Erin Fritts and Greg Ludwig entered the office in Garden City, Ga. Erin

Fritts stated "I found a reason to terminate you and I don't care about any

conversation you had with Jason. You are responsible for all errors of white

employees. You got that!" Greg stated, "Yea, you got that!" Greg pulled out

termination papers, with the plaintiff's social security number from his black bag and

escorted the plaintiff off of the premises. Erin was the HR representative and she
                                                                                      49
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      neglected her duties just to showcase her privilege and superiority over the Plaintiff.
      Because of Erin, the Plaintiff lost her desire to have children.

                                 "TMX Position as Written "


Plaintiffrestates, re-alleges, and incorporates by reference all other Paragraphs of this
Complaint as if fully stated herein.

            74.    TMX has now alleged that employees were in fear for their life after

      TMX realized the Plaintiff was serious when EEOC requested a position statement.

      TMX knowingly and willingly submitted false information and should be sanctioned

      for giving false information to a federal agency and their attorney should be barred

      from representing TMX in the future, and also sanctioned.

            75.    Each and every person working in the Human Resource Department,

      Benefit Department, Greg Ludwig and the GEO was aware of the Plaintiff's protected

      activity, so her termination and the person TMX listed as the deciding official is part

      of the continuation of scandals, schemes, and or conspiracies.

            76.    TMX cannot justify any corrective action because they were retaliatory.

      One write up was for items Greg expected the Plaintiff to do her off day. TMX will

      need to show how the Plaintiff was supposed to perform morning duties if she was

      not at work and it was her off day.

            77.    The other write up was when the store manager shut off the alarm 1

      minute late. Even if the Plaintiff arrived late, writing her up was still an act of

      retaliation. TMX cannot justify 1 day late in 6 years of employment that should

      warrant a write up.
                                                                                                50
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      78.    Furtheimore, it is impossible to work for Titlemax without deviating

from the schedule. Schedules were not enforced but they were in place just to

determine who would be opening and closing the offices each day. Also TMX will

have to justify the countless hours the Plaintiff was in the office after close of

business and sometimes on Sundays just to complete her daily task on and off the

dock. TMX was aware of the Plaintiff working off the clock and did not write her

up; therefore she should not be liable for the store manager deactivating the alarm off

1 minute late. It's not a coincidence that the Plaintiff was written up after opposing

racial discriminatory practices. The evidence will show the Plaintiff was written up 2

times in 2 consecutive months by Greg Ludwig after opposing discriminatory

practices.

      79.    The Plaintiff called HR in July and was written up in August and

September. In July the Plaintiff contacted HR about being denied an off day after

working an entire month without relief while Caucasian employees were given

several off days throughout the month of July. About 16 days later Greg visited the

office on the Plaintiffs off day to search for something he could use to justify his

motive of retaliation.


      80.    September Greg secredy sent the Plaintiff a text message of an African

American potential customer that a Caucasian employee was working with in another

office; however she was unable to get the potential customer to accept the offer to

close the pawn. Greg ordered the Plaintiff to call the customer and she was able to

closethe pawn. The Plaintiff asked Greg if he didn't mind refraining from texting her
                                                                                         51
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       phone number of African American potential customers that were doing business
       with Caucasian employees at other locations because she did not want to assume he

       made the decision because she was African American like the customer. She

       expressed that it made her feel uncomfortable. The Plaintiff asked why the Caucasian

       employee was not able to do the same thing. Greg said he did not know and to move

       on. The Plaintiff was written about 16 days later.

                 81.   TMX has alleged that S. Benton is still employed with the company and

       to speak with their attorney regarding any question for an investigation. However, the

       Plaintiff has a statement from the same person stating she was working at the location

       TMX alleged the Plaintiff worked at in 2020 in Garden City. S. Benton stated she

       was terminated November 2020 several days after requesting a FMLA leave of

       absence by TMX.^

                 82.   TMX has alleged that the Plaintiff engaged customers in sheer pajamas

       insinuating that she wore clothing that would have revealed her underwear and or

       private parts. The Plaintiff does not dress in revealing clothes nor does she own such

       attire.


                 83.   TMX listed employees that never worked with the Plaintiff at any point

       or in the same building in their statement such as Tabitha, Susanne, India and others.

       TMX will not be able to prove this assertion, but they instructed the EEOC to contact

       their attorney if they wanted to talk to the employees.


®TMX informed EEOC false information l<nowing the Plaintiff worked in Savannah, GA 2020 and then Garden City 2021
howeverTMX asserted that the Plaintiff was working In Garden City 2020 knowing they cannot prove the assertion.

                                                                                                               52
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             84.   The Plaintiff asks the court to sanction both TMX and their attorney if

      they are unable to provide evidence to support their assertions to deter them from
      purposely lying to a federal agency. The Plaintiff knows that TMX will notbe able to
      produce any statements from any employee that would have made anyone live in fear

      unless the 1 employee that worked with the Plaintiff made that statement and she has

      denied doing so.

                                     First Claim for Relief
Discrimination on the Basis of Disabilitv violation of Title I of the ADA 42 U.S. Code
                               S 12112 rritlemax of Georgia'^

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fuUy stated herein.



Congress findings under 42 U.S. Code § 12101 states "(l)physical or mental disabilities in

no way diminish a person's right to fully participate in all aspects of

society...(2)historically, society has tended to isolate and segregate individuals with

disabilities, and, despite some improvements, such forms of discrimination against

individuals with disabilities....(3)discrimination against individuals with disabilities persists

in such critical areas as employment....(5)individuals with disabilities continually encounter

various forms of discrimination, including outright intentional exclusion,       "

             85.   The Plaintiff was diagnosed with diabetes October 2017. She later

      suffered from severe anxiety, depression, and insomnia in 2020 as a result of TMX

      employee's unlawful acts.


                                                                                               53
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      86.   The Plaintiff was a qualified employee thatwas able to perform the

essential functions of her duties without a request for reasonable accommodations.

The Defendant acts of retaliation, harassment, intimidation, bullying and negligence

created a hostile work environment for the Plaintiff before and after she requested a

leave of absence under FMLA. The Plaintiff suffering from anxiety, depression, and

insomnia is a direct result of TMX intentional infliction of emotional distress.

      87.    Greg Ludwig questioned, discussed, and /or disclosed the Plaintiff

medical conditions with employees who did not work with the Plaintiff; violating 42

U.S. Code § 1320d-6 while Plaintiff was out on FMLA.

      88.    The Defendants outright subjected the Plaintiff to unwelcome conduct

by placing her on an administrative leave for four months under the impression that

cameras were being placed at the facility, removing plaintiff from office when she

returned to work, then placing her in the worst office in the region. TMX employees

insinuated that the Plaintiff medical provider misled her; TMX diagnosed her as

suicidal, and a threat to herself without making anyone aware of the alleged concerns.

TMX did not speak with the Plaintiffs medical provider, did not review the Plaintiff

medical history, did not provide any documents for the administrative leave, and did

not address their concems at any point prior to the Plaintiff questioning and opposing

acts of discriminatory disability retaliation and the reason she was off of work.

      89.    She was misled, made mockery of, humiliated, discriminated against on

the basis of her disability and retaliated against for taking an FMLA leave of absence.


                                                                                        54
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The Defendant TMX used the Plaintiffs disability as framework to further commit

acts that were unlawful and intentional acts of discrimination.

            a.     This conduct was severe, pervasive, intentional, demoralizing,

      unjust, reckless, malicious and unlawful.

            b.     Plaintiff made multiple complaints to Defendants' Human

      Resource associates (who aided and abetted) in the unfit for duly scheme,

      harassment, retaliation, discrimination, intimidation and other unlawful acts.

             c.    Management level employees and Human Resource associates

      knew, or should have known; that their actions of conspiracy to label the

      plaintiff unfit for duty was unlawful. The Plaintiff complaints should have

      warranted a thorough investigation but Human Resources was not going to

      investijgate themselves, so Tracy Young as the CEO was made aware of the

      conduct and neglected his duty to protect the Plaintiff.

             d.    A reasonable person with a disability in the Plaiatiff's position

      would have found the work environment to be hostile, polluted, and lacking

      integrity on the basis of disability discrimination

             e.    As a result of the severe and pervasive conduct by the Defendants

      in violations of Title I of the American Disability Act, Plaintiff have suffered

      and still suffers damages, including, but not hmited to: past and future lost

      wages, pain and suffering, inconvenience, mental anguish, difficulty

      concentrating, anxiety, disassociation, ciying spells, loss of enjoyment of life.


                                                                                         55
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            humiliation, emotional distress, reputational harm, in addition; the plaintiff

            experienced nightmares and fear of leaving her home.

                  f.     The Defendant's action created a hostile work environment for

            Plaintiff on the basis of disability discrimination.

                  g.     Plaintiff found her work environment to be hostile and charged

            with disability discrimination.

                  h.     The Defendants' unlawful actions were intentional, willful,

            malicious, and/or done with a reckless disregard of the Plaintiff right to be free

            from discrimination on the basis of disability.

                  i.     Titlemax discriminated against the plaintiff on the basis of

            disability in violation of Title I of the ADA 42 U.S. Code § 12112, Ga. Code

            §34-6A-4

                  j.     The Plaintiff has sustained economic and emotional injuries,

            resulting in damages in an amount to be proven at trial.



                                Second Claim for Relief
Interference, Coercion, and Intimidation Violation of Title I ofADA 42 U.S.C. ^12203b
  fTitlemax of Georgia. Grea Ludwia, Carlev Braaas, Clav Alexander, Steve Thomas)

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.




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The 42 U.S. Code § 12203-b states, "It shall be unlawful to coerce, intimidate, threaten, or

interfere with any individual in the exercise or enjoyment of, or on account of his or her

having exercised or enjoyed, or on account of his or her having aided or encouraged any

other individual in the exercise or enjoyment of, any right granted..."The Plaintiff believes

that this rule applies to TMX employees too.


                                                  I



   90.      The Plaintiff engaged in protected activity under ADA by exercising her rights to

         take a leave of absence under FMLA. The Defendant received notice of the protected

         activity via email addressed to Human Resource, Greg Ludwig and Steve Thomas on

         Oct 6, 2020. TMX retaliated against the Plaintiff on the basis of her disability in

         violation of 42 U.S.C. §12203b

   91.      The Defendants subjected the Plaintiff to unwelcome, intentional, malicious, and

         retaliatory acts by forcing her to manage an office that was not similarly situated to

         Titlemax #2 Savannah, to drive to another city that is a further distance to perform

         her duties, forced her on an administrative leave for four months under the

         impression that cameras were being placed at the facility at TMX#2 of Savannah to

         ensure the premises is equipped with the proper security devices, conspired to remove

         the Plaintiff from office after she did all the hard work in, and then placed her in the

         worst and smallest office in the region. She was forced to work harder in an office

         that was less desirable and lower earning potential.




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92.    The defendants used the plaintiff disability as framework to further engage in a

  pattern of more unlawful and intentional discriminatory practices and to justify
  retaliatory discrimination on the basis of the Plaintiffs disability.

93.    This conduct was severe and pervasive, intentional, malicious, reckless, and

  outrageous. The Plaintiff complaints were ignored by the Defendants' Human

  Resource associates and the owner of the business himself. The Defendants' actions

  created a hostile work environment for the Plaintiff because of her disability. The

  Defendants transferred the Plaintiff a less desirable office, abused their authority, and

  threatened to terminate the plaintiff for questioning and opposing unlawful conduct.

  TMX started false rumors about the plaintiff, insinuated that she was misled by her

  medical provider, and TMX diagnosed the Plaintiff in secret as suicidal without

  making anyone aware of the alleged concerns or conducting a true investigation.

94.    The Plaintiff found her work environment to be hostile and charged with

  disability discrimination and suffered more harm from the retaliatory acts of the

  Defendant.


                a.     A reasonable person protected under ADA with a disability in

          Plaintiff position would have found the work environment to be hostile and

          polluted with disability discrimination.

                b.     The conduct alleged is not what any reasonable person would

          expect from a gang of employees in prominent positions.




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          c.     Management level employees and Human Resource knew, or

    should have known, that their actions of conspiracy, retaliation, and

    defamation with the intent to label the plaintiff unfit for duty was unlawful.

          d.      The Plaintiff complaints should have warranted a thorough

    investigation but Human Resources was not going to investigate themselves,

    so Tracy Young as the CEO was made aware of the conduct and neglected his

    duty to protect the Plaintiff from ongoing intentional acts of bullying,

    intimidation, harassment, humiliation, and retaliation. Each Defendant acted

    on behalf of themselves and should be held liable


          e.     As a result of the severe and pervasive conduct by the Defendants

    in violations of Title I of the American Disability Act, Plaintiff have suffered

    and still suffers damages, including, but not limited to: past and future lost

    wages, pain and suffering, inconvenience, mental anguish, difficulty

    concentrating, anxiety, disassociation, crying spells, loss of enjoyment of life,

    humiliation, emotional distress, reputational harm, in addition; the plaintiff

    experienced nightmares and fear of leaving her home.

          f.     The Defendants' unlawful actions were intentional, willful,

    thoughtfully planned, malicious, and/or done with a disregard of the Plaintiff

    right to be free from retaliation on the basis of her disability.

          g.     Tidemax executed acts that discriminated, conspired, interfered

    with enjoyment of rights, and intimidated the plaintiff on the basis of her

    disability in violation of Title I of the 42 U.S.C. §12203b
                                                                                       59
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                   h.      The Plaintiff has sustained and still suffers economic and

             emotional injuries, resulting in damages in an amount to be proven attrial.


                                    Third Claim for Relief
    Continued Retaliation. Harassment. Hostile Work Environment in violation of
                        Violation of me I ofADA 42 U.S.C. I^12203fa)
  rritlemax of Georgia. Jason Broce. Clav Alexander. Greg Ludwig. Steve Thomas)



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.



The 42 U.S. Code § 12203-a states "No person shall discriminate against any individual

because such individual has opposed any act or practice made unlawful by this chapter"

The Plaintiff believes that this rule applies to TMX employees too.

   95.    The Plaintiff was a qualified employee with a disability. The defendants

      deliberately subjected the plaintiff to frequent unwelcome harassment, intimidation,

      humiliation, and a work environment that any person with a disability would

      consider hostile.


   96.    The conduct of the defendants was unbelievable, so severe, and pervasive; the

      Plaintiff suffered extreme anxiety, stress, depression, humiliation, emotional distress,

      loss of self-esteem, insomnia, difficulty concentrating, disassociation, crying spells,

      social isolation, and loss of enjoyment of life, damage to her professional reputation.




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  and withdrawal from relationships. In addition, the plaintiff still experiences

  nightmares, fear of leaving her home, and unable to find peace.

97.      The Plaintiff seeks to learn the true intention behind TMX diagnosing her as

      suicidal, transferring herto Savannah, and failing to ensure she worked at a safe

      location. The Plaintiff believes that the Defendants intentionally tried to hurt her in

      efforts to keep her silent about unlawful and possible illegal acts that they knew were

      wrong. The Plaintiffs life was endangered and TMX neglected her. Even if TMX

      employees do not find the Plaintiff worthy and valuable, they had a duty to ensure

      the Plaintiff was not working in an unsafe and hostile environment.

98.      The Defendant alleged that the Plaintiff medical provider misled her; TMX

      diagnosed the Plaintiff as suicidal and a threat to herself without making anyone

      aware of the alleged concerns. The Human Resources departments would make

      comments to the Plaintiff to make her feel less than others and found it humorous

      when they knew the Plaintiff was crying. The defendants used the Plaintiff's

      disability as a framework to further commit acts that were unlawful. Intentional, and

      discriminatory. Each Defendant acted on behalf of themselves and should be held

      liable.


                      a.    The Plaintiff was made mockery of and completely humiliated by

                TMX Human Resource associates, Greg Ludwig, and Steve Thomas. TMX

                conduct was severe and pervasive, intentional, and reckless.

                      b.    Titlemax retaliated, harassed and created an hostile work

                environment be the plaintiff opposed unlawful discrimination basis of her
                                                                                                61
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            disability in violation of Title I of the ADA 42 U.S. Code §

            12203(a),O.C.G.A. 34-6A-5

                   c.       Plaintiff has sustained economic and emotional injuries, resulting

            in damages in an amount to be proven at trial.



                                    Fourth Claim for Relief
 Discrimination on the Basis of Race/Disparate Treatment in Violation of Title VH of
                                 the Civil Rights Act of 1964,
                        42 U.S.C. § 2000e. et sea. 42U.S,C. § 2000e-2(a1
                                     (Titlemax of Georgia)




Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            99.    Plaintiff is an African American; a member of a protected class. The

      Plaintiff was meeting TMX expectations. The Plaintiff suffered adverse employment

      action when the defendants engaged in race discrimination conspiracies to remove her

      from offices; subsequentiy replacing her with Caucasian females and placing her in

      offices that had the highest slow file. This pattern of discriminatory conduct was

      intentional in efforts to make the plaintiff work much harder and to create a hostile

      work environment. The Defendants engaged in patterns of race discrimination

      unlawful acts that subjected the Plaintiff to being placed in offices that held the

      highest slow file and removing her staff from office because she is African American

      in violation of Tide VII of the Civil Rights Act of 1964.



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      100. The Plaintiff alleges that the Defendants engage in patterns of

conspiracy, coercion, and unlawful practices in order to discriminate against her due
to her race. TMX did not subject similarly situated employees to the same treatment.

Caucasian employees were not subjected to proving that they were qualified for their
positions or experienced repeated changes to their staff. Caucasian employees were

allowed to complete their general manager training, have audits conducted at their

work site, and allowed to be the leading managers of their offices longer than the

plaintiff was ever allowed to work as leading manager of any of the offices she

managed. Caucasian employees of TMX were not reassigned to the worst offices in

the region for performing well. The mentioned intentional and unlawful acts occurred

under the leadership of Steve Thomas, and Greg Ludwig with the assistance of

Human Resource employees aiding aad abetting.

      101. There is not one similarly situated Caucasian in the region that has

generated more in revenue and profit from November 2017 to October 2020 than the

plaintiff, acknowledged 3 times as the number one office in the district or region,

reassigned 5 times, managed 13 employees in less than 2 years, and reassigned for

extraordinaiy performance to the worst office with the highest slow file.

      102. TMX took adverse employment actions by intentionally subjecting the

plaintiff to threats of reducing her salaiy by termination, placing her on suspension,

forcing her to work in an unsafe facility, failing to promote, denial of training,

reassigning her to less favorable offices, forcing her to beg for lunch breaks and off



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days, and teraiinating the plaintiff for protected activities on the basis of race
discrimination.


             a.     The Defendants developed a consistent pattern of failing to

      promote instead choosing to reassign the plaintiff for actually meeting TMX

      expectations. The plaintiff termination and reassignments were a direct result of

      the plaintiffs complaints, opposition and the questioning of patterns that were

      unlawful and frequendy practiced by employees of TMX with Human

      Resource aiding and abetting. The Defendants cannot show any legitimate

      nondiscriminatory reasons for its employment practices and any reasons given

      by TMX for its actions against the Plaintiff are pretextual.

             b.     The Plaintiff race was the determining factor and/or the motivating

      factor for the Defendants' pattern and practices of adverse employment action

      by intentionally using her race as a marketing tool.

             c.     Plaintiff does not believe any reasonable African American would

      have agreed to leave their home overnight to be placed in an office that would

      have decreased their earning potential due to the previous staff member's work,

      performance, and inability to meet performance goals in an honest and

      transparent way. A reasonable person of the African American race in the

      plaintiff position would have found their employment at TMX to be

      contaminated with race discrimination.




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           d.    Defendants' TMX pattern of discriminatory practices would deter

    any reasonable African American employee from engaging in protected

    activity.

           e.    Tabitha, Natasha, Ashley, Anna, and Susanne, were afforded the

    time to complete their general manager training. Rachel's general manager

    training is in question because her job title changed to general manager from

    store manager often and she wasnt subjected to patterns of unlawful conduct,

           f.    As a result of the severe and pervasive conduct by the Defendants

    in violations of Title VII, Plaintiff have suffered damages, including, but not

    limited to: past and future lost wages, pain and suffering, inconvenience,

    mental anguish, difficulty concentrating, anxiety, disassociation, crying speUs,

    loss of enjoyment of life, humiliation, emotional distress, reputational harm, in

    addition; the plaintiff experienced nightmares and fear of leaving her home.

    Plaintiff lost her desire to have children, and feels awful for being African

    American.


           g.    The Defendants subjected the plaintiff to frequent and

    unwelcoming patterns of intentional unlawful, abusive, premeditated,

    malicious, coerced acts and done with reckless disregard to the Plaintiff right as

    an employee to be free from discrimination based on her race, African

    American.


           h.    Titlemax discriminated against the plaintiff on the basis of race in

    violation of Section 703(a) of Tide VII, 42 U.S.C. § 2000e-2(a)
                                                                                      65
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                  i.     The Plaintiff- is entitled to back pay, front pay, compensatory and

            punitive damages in an amount proven at trial.

                                  Fifth Claim for Relief
 Discrimination on the Basis of Race/Disparate Treatment) in Violation of 42 U.S.C. §
                 1981. 42 U.S.C. S 2000e. et seq. 42U.S.C. S 2000e-2(a)
              (Titlemax of Georgia. Steve Thomas, Grea Ludwia. Doe 1-5)



Plaintiff restates^ re alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

"Although claims against individual supervisors are not permitted under Tide VII, this court

has found individual liability under § 1981 when [the defendants] intentionally cause an

infringement of rights protected by Section 1981..."See Al-Khazraji v. Saint Francis

College.

            103. The Defendant intentionally and recklessly violated Section 1981 when

      they discriminated against Plaintiffs in a tangible way with regards to her

      compensation, terms, conditions or privileges of employment.

            104. The Plaintiff is an African American; a member of a protected dass. The

      Plaintiff was meeting TMX expectations. The Plaintiff suffered adverse employment

      action when the defendants engaged in conspiracies to remove her from offices;

      subsequentiy replacing her with Caucasian females and placing her in offices that had

      the highest slow file. This pattern of disaiminatoiy conduct was intentional in efforts

      to make the plaintiff work much harder and to create a hostile work environment.

      The Defendants engaged in patterns that subjected the Plaintiff to being placed in

                                                                                           66
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offices that held the highest slow file and removing her staff from office because she
is African American in violation 42 U,S.C. § 1981

      105. The Plaintiff alleges that the Defendants engage in patterns of

conspiracy, coercion, and unlawful practices in orderto intentionally discriminate

against her due to her race by not subjecting similarly situated employees to the same

treatment. Caucasian employees were not subjected to proving that they were

qualified for their positions or experienced repeated changes to their staff. Caucasian

employees were allowed to complete their general manager training, have audits

conducted at their work site, and allowed to be the leading managers of their offices

longer than the plaintiff was allowed to work as leading manager of any of the offices

she managed. Caucasian employees of TMX were not reassigned to the worst offices

in the region for performing well. The mentioned intentional and unlawful acts

occurred under the leadership of Steve Thomas, Frank Chilsom and Greg Ludwig

with the assistance of Human Resource employees aiding and abetting.

             •     In ColumbuSy GA February 10,2020 Anna Caucasian female

      reported to TItlemax Buena Vista Road as General Manager on Feb 10th while

      the Plaintiff was advised by the Defendants that she would be needed for two

      weeks in Savannah. During this time the Plaintiff had questions about the

      business license for the entire year of 2019. She complained about her work

      being used to evaluate employees, labeling of employees as targets, working
                                                      )


      without lunch breaks, being excluded from conversations about staff changes,

      and begging for an off day and lunch breaks.
                                                                                      67
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            •      In Savannah, GA March 26, 2021 - General Manager Ashley

      Caucasian female was assigned to Titlemax #2 as the general manager of the

      TIdemax Skidaway Road in Savannah March 2021. The plaintiff complained

      aboutsafety of the premises for the entire month of September 2020; one of

      the reasons the Plaintiff took FMLA leave of absence. Oct 6, 2020. The

      Defendants used the plaintiff disability to label her as "unfit for duty"; in efforts

      to establish a reason to continue with targeted discriminatory practices and

      patterns. PRIOR TO taking FMLA the plaintiff made several complaints about

      the safety of the premises. She complained about her work being used to

      evaluate employees, working without lunch breaks, being excluded from

      conversations about staff changes, begging for an off day and being

      disrespected.

             •     IN June 2021 Garden Cily- In efforts to thwart the plaintiffclaims

      of race discrimination, Defendants TMX placed an African American female

      in the office as general manager after terminating the plaintiff,

             •        Tabitha, Natasha, Ashley, and Anna, Susanne, were afforded the

      time to complete their general manager training. Rachel general manager

      training is in question because her job title changed to general manager from

      store manager often.

      106. There is not one similarly situated Caucasian in the region that has

generated more in revenue and profit from November 2017 to October 2020 than the

plaintiff, acknowledged 3 times as the number one office in the district or region,
                                                                                        68
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reassigned 5 times in less than 2 years, managed 13 employees in less than 2 years

and reassigned to for extraordinary performance to the worst office in the region that
held the highest slow file.

      107. TMX took adverse employment actions by intentionally subjecting the

plaintiff to threats of reducing her salary by termination, replacing with Caucasian

females, placing her on suspension, forcing her to work in a unsafe facility, failing to

promote, denial of training, reassigning her to less favorable office locations, forcing

her to beg for lunch breaks and off days, and terminating the plaintiff because of

protected activities on the basis of race discrimination.

             a.     Defendants discriminated against the plaintiff and conspired and

      subjected her to a pattern of adverse employment practices by failing to

      promote the plaintiff and choosing to reassign her for performing well on the

      basis of her race, African American and then replacing her with Caucasian

      females.


             b.    The Plaintiff race was the determining factor and/or a motivating

      factor of the Defendants' pattern of race discrimination.

             c.    The Defendants' intentional pattern of unlawful actions was done

      with malice and with a disregard to Plaintiff right to be free from

      discrimination based on her race, African American.

             d.    Plaintiff does not believe that any reasonable African American

      would have agreed to leave their home overnight to work in an office that

      would decrease their earning potential due to the previous staff member's work,
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    performance, and their inability to meet performance goals in an honest and
    transparent way. A reasonable person of the African American race in the

    plaintiff position would have found the work environment to be contaminated
    with discrimination based on race.

           e.    The Defendant TMX pattern of discriminatory practices would

    deter any reasonable African American employee from engaging in protected

    activity.

           f.    The Defendants subjected the plaintiff to frequent and

    unwelcoming patterns of intentional acts that were unlawful, intentional,

    abusive, reckless, conspired, and done with a disregard to Plaintiff right to be

    free from discrimination based on her race, African American.

           g.    As a result of the severe and pervasive conduct by the Defendants

    in violation of Section 1981 the Plaintiff has suffered damages, including, but

    not limited to: past and future lost wages, pain and suffering, inconvenience,

    mental anguish, difficulty concentrating, anxiety, disassociation, crying spells,

    loss of enjoyment of life, humiliation, emotional distress, reputational harm. In

    addition, the plaintiff experienced nightmares and fear of leaving her home.

    Plaintiff lost her desire to have children, and feel awful for being dark skinned

    African American.


           h.    Titlemax discriminated against the plaintiff on the basis of race in

    violation of 42 U.S.C. § 1981,Section 703(a) of Title VII, 42 U.S.C. §

    2000e-2(a)
                                                                                       70
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                   i.     Plaintiff- is entitled to back pay, front pay, compensatory and

            punitive damages in an amount proven at trial.

                                    Sixth Claim for Relief
       Intentional Retaliation on the Basis of Race Discrimination in Violation of 42
             U.S.C. S 1981. Section 7Q4ral of Title VII. U.S.C. ^ 2000e-3ra\
                 rridemax of Georgia. Steve Thomas. Greg Ludwig. Doe 1-5^1



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            108. The Plaintiff multiple complaints and opposition to unlawful

      discrimination to the TMX Human Resource associates did not warrant the

      Defendants to conduct an internal investigation instead it prompted the defendants

      Human Resource to aid and abet in retaliation with the intent to punish the plaintiff

      for engaging in protected activities. The Defendants discriminated against Plaintiffs

      because of her protected activity and opposing unlawful act on the basis of race

      discrimination under 42 U.S.C. § 1981.

            109. As a result of the Plaintiffs complaints TMX employees consciously and

      intentionally participated in adverse action while knowing the plaintiff engaged in

      protected activities. When the plaintiff opposed the practices, the defendants

      continued to retaliate by repeating the same practices in both markets under the

      leadership of Steve Thomas with Human Resource aiding and abetting

            110.    Under Greg's and Steve's leadership with Human Resource of TMX

      aiding and abetting the plaintiff experienced a pattern of retaliation by demoting her

      in front of her peers, reassigning the plaintiff to the less profitable office in the region
                                                                                                71
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with the highest slow file, writing her up for asking for an off day, suspending the
plaintiff, threatening to terminate her for reaching out for help. The parties

mentioned subjected the plaintiff to conspiracies to move the plaintiff to different

offices, and wrongfully terminated the plaintiff's employment because of her

(engagement of protected activities.

      •      While in Savannah, the parties mentioned in the above paragraph

subjected the Plaintiff to a pattern of direct adverse action, when they used the

plaintiffs work to promote/ transfer Ted, (Caucasian male) to a distinct side of town.

      •      The parties conspired and attempted to promote and transfer Chybria

(light, African American, female) by using the Plaintiff performance to General

Manager Position.

      •      The parties conspired and replaced the plaintiff with Ashley Jones

(Caucasian female) by retaliating for taking a FMLA leave of absence. The parties

willfully, intentionally, and wrongfully suspended the plaintiff so they could fabricate

a stoiy to label the plaintiff as unfit for duty. Also, terminated the plaintiff for her

engagement in protected activities.

      111.    Under Frank's and Steve's leadership with Human Resource of TMX

aiding and abetting the plaintiff experienced a pattern of retaliation when the

Plaintiffs work was used to evaluate and reassign her staff members to other offices

in a short period of time. The parties intentionally conspired and subjected the

plaintiff to a framework of conspiracies to move the plaintiff to different offices, and


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misrepresented facts relating to her employment because she opposed acts that were
discriminatoiy based on her race.

      •      While in Columbus, the parties mentioned in the above paragraph,

subjected the Plaintiff to a pattern of direct adverse action, when they used the

plaintiffs work to promote/ transfer Kimberly S. (Caucasian female) to a certain side

of town.


      •      The parties conspired and transferred Trellis H. (light, African

American, female) to an office based on the Plaintiff performance.

      •      The parties conspired and then promoted Latonia D. (brown skinned,

African American, female) by using the Plaintiff to correct the performance problem

at the location of Titlemax #5. Latonia was later promoted to General Manager

Position after the blackout period.

      •      The parties conspired and replaced the plaintiff with Anna (Caucasian

female) by taking adverse action because the plaintiff questioned the business license

and opposed practices that were unlawful. The parties willfully and intentionally

conspired and coerced the Plaintiff to going to Savannah under the impression she

would be needed for 2 weeks and then placing her in one of the worst offices in the

region for exceeding performance expectations.

      112.   TMX took adverse employment action by intentionally reassigning the

plaintiff with the worst slow files, reassigning her staff members, denial of training,

reassigning her to less favorable office locations, and forcing her to beg for lunch

breaks and off days and reassigning the plaintiff due to her engagement of protected
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activities. The plaintiff was forced to work off the clock at home and on-site in order
to complete her daily responsibilities.

      113. The Plaintiff was hired with more experience than any store manager

under her leadership. At no time was she promoted or transferred in less than 6

months to any office during her entire career. During the plaintiffs career she was

transferred 10 times. As General Manager the Plaintiff was reassigned 5 times and

managed 13 employees while only being in position in less than 2 years. In her

career she has not witnessed this kind of abuse and targeted infliction of power

harassment of any similar situated employee. The plaintiff was taken advantage of by

the defendants because of her race. It was not a common practice to treat employees

as described yet TMX subjected the plaintiff to employment conditions that violated

her rights while Human Resource associates aided and abetted.

             a.    The Defendants developed a consistent pattern of retaliation by

      failing to promote instead choosing to reassign the plaintiff for actually

      meeting TMX expectation. The plaintiff termination and reassignments were a

      direct result of the plaintiffs complaints, opposition, and questioning of

      patterns that were unlawful and frequently practiced by employees of TMX.

      The Plaintiff staff members were reassigned because the Plaintiff complained

      about unfair treatments and her work being used to evaluate employees under

      her leadership. The Defendants cannot show any legitimate reasons for its

      pattern of adverse action and any reasons given by TMX for its actions against

      the Plaintiff are pretextual.
                                                                                      74
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               b.      The Defendants subjected the plaintiff to frequent and

         unwelcoming patterns of intentional and premeditated retaliation based on race.

         This practice was unlawful, abusive, coerced, malicious, and done with

         reckless disregard to Plaintiff right to be free from discrimination and retaliation

         because she complained, opposed, and questioned what appeared to be a

         pattern of unlawful practices.

               c.      As a result of the severe and pervasive conduct by the TMX

         employees the Plaintiffhas suffered damages, including, but not limited to:

         past and future lost wages, pain and suffering, inconvenience, mental anguish,

         difficulty concentrating, anxiety, disassociation, crying spells, loss of

         enjoyment of life, humiliation, emotional distress, reputational harm; in

         addition, the plaintiff experienced nightmares and fear of leaving her home.

         Plaintiff lost her desire to have children, and feels awful for being dark skinned

         African American.


               d.      Defendants' retaliation on the basis of race discrimination and the


         abusive practices would deter any reasonable African American from engaging

         in protected activity.42 U.S.C. § 1981,Section 704(a) of Tide VII, 42 U.S.C. §

         2000e-3(a).

               e.      Plaintiff is entitled to compensatory and punitive damages in an

         amount proven at trial

                                  Seventh Claim for Relief
Retaliation on the Basis of Race Discrimination in Violation of Tide VII of the Civil
      Rights Act of 1964. Section 704(a) ofTitie VIL42 U.S.C. g ZOOOe-^Sra)

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                                    rritlemax of Geor^ial

Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            114. The Plaintiff multiple complaints and opposition of unlawful

      discrimination to TMX Human Resource associates did not warrant the Defendant

      TMX to conduct an internal investigation instead it prompted the defendants Human

      Resource associates to aid and abet in retaliation with the intent to punish the plaintiff

     ' for engaging in protected activities. The Defendants discriminated against Plaintiffs

      because of her protected activity and opposing unlawful acts on the basis of race

      discrimination in violation of Title VII of the Civil Rights Act of 1964.

            115. As a result of the Plaintiffs complaints TMX employees consciously

      participated in adverse action while knowing the plaintiff engaged in protected

      activities. When the plaintiff opposed the practices, the defendants continued to

      retaliate by repeating the same practices in both markets under the leadership of Steve

      Thomas with Human Resource aiding and abetting.

            116.    Under Greg's and Steve's leadership with Human Resource of TMX

      aiding and abetting the plaintiff experienced a pattern of retaliation by demoting her

      in front of her peers, reassigning the plaintiff to the less profitable office in the region

      with the highest slow file, writing her up for asking for an off day, suspending the

      plaintiff, and threatening to terminate her for opposing and questions unlawful acts.

      The parties mentioned subjected the plaintiff to a framework of conspiracies to move



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the plaintiff to different offices, and wrongfully terminated the plaintiffs employment

because of her engagement in protected activities.

       •      While in Savannah, the parties mentioned in the above paragraph

subjected the Plaintiff to a pattern of direct adverse action, when they used the

plaintiffs work to promote/transfer Ted, (Caucasian male) to a certain side of town.

       •      The parties conspired and replaced the plaintiff with Ashley (Caucasian

female) by retaliating for taking an FMLA leave of absence. The parties willfully and

wrongfully suspended the Plaintiff so they could fabricate a stoiy to label the Plaintiff

as unfit for duty. Also, the Defendants terminated the plaintiff for her engagement in

protected activities.

       117.   TMX took adverse employment actions by intentionally threatening to

reduce the plaintiff income by termination, placing her on suspension, forcing her to

work in an unsafe facility, failing to promote, denial of training, reassigning her to

less favorable office locations with the highest slow files, and forcing her to beg for

lunch breaks and off days, and terminating the plaintiff for in protected activities..

The plaintiff was forced to work off the clock at home and on-site in order to

complete her daily responsibilities. The plaintiff was deprived of her time to enjoy

life by the abuse of TMX employees.

              a.    The Defendant TMX developed a consistent pattern of retaliatoiy

      discrimination by failing to promote; instead choosing to reassign the plaintiff

      for actually meeting TMX expectations. The plaintiff termination and

      reassignment were a direct result of the Plaintiffs complaints, opposition, and
                                                                                          77
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    questioning of patterns that were unlawful and frequently practiced by

    employees of TMX. The Defendants cannot show any legitimate reasons for its
    pattern employment practices and any reasons given by TMX for its actions

    against the Plaintiff are pretextual.

          b.     The Defendants subjeaed the plaintiff to frequent and

    unwelcoming patterns of intentional and premeditated retaliation. This practice

    was unlawful, abusive, coerced, malicious, and done with reckless disregard to

    Plaintiff right to be free from retaliation because she complained, opposed, and

    questioned what appeared to be a pattern of unlawful practices.

          c.     As a result of the severe and pervasive conduct by TMX

    employees the Plaintiff has suffered damages, including, but not limited to:

    past and future lost wages, pain and suffering, inconvenience, mental anguish,

    difficulty concentrating, anxiety, disassociation, crying spells, loss of

    enjoyment of life, humiliation, emotional distress, reputational harm. In

    addition, the plaintiff experienced nightmares and fear of leaving her home.

    Plaintiff lost her desire to have children, and feel awful for being African

    American.


          d.     Defendants' retaliation on the basis of race discrimination and the

    abusive practices would deter any reasonable African American from engaging

    in protected activity. Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a).

          e.      Plaintiff- is entitled to, compensatory and punitive damages in an

    amount proven at trial.
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                                  Eighth Claim for Relief
   Harassmpnt/Hostile Work Environment on the Basis of Race Discrimination in
 Violation of 42U.S.C. §1981. Section 703(a^ of Title VIL 42U.S.C. S 2000e-2ral, 3(a)
         (Titlemax of Georgia. Clav Alexander. Greg Ludwig. Steve Thomas)


Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            118. The Plaintiff multiple complaints did not warrant the Defendants to

      conduct an internal investigation instead it prompted TMX Human Resource

      associates to aid and abet in harassment to make the Plaintiff uncomfortable in efforts

      to create a hostile work environment. The Defendants subjected Plaintiffs to

      harassment and a hostile work environment because of her race in violation of 42

      U.S.C. § 1981

            119. The Defendants subjected the plaintiff to unwelcome harassment because

      of her race; therefore, making Titlemax responsible for the supervisor's acts of

      intentional negligence, intimidation, retaliation, discrimination, and many forms of

      harassment including power, discriminatory, personal and psychological harassment.

            120. To include what's referenced above the Defendants harassed and created


      a hostile work environment each time a staff member was removed from under the

      plaintiffs leadership; forcing the plaintiff to continuously train new staff members.

      Intentionally making the plaintiff work much harder. The Defendants engaged in a

      pattern of intimidation, name calling, and abuse; causing the plaintiff to work in fear.

      The Plaintiff was forced to watch Caucasian females handed offices that she fixed;

      while she would be placed in the worst office in the region with the highest slow file.
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Because the Plaintiff is African American, Titlemax intentional pattern of

disaiminatoiy practices landed the Plaintiff in the worst offices, with the highest slow

file in the region forcing the Plaintiff to overwork and prove herself while Caucasian

employees were treated more favorably. The Defendants made mockery of the

plaintiff, humiliated the Plaintiff and engaged in intentional, coerced, and malicious

acts of discrimination, retaliation, and harassment frequendy.

       121. Defendants' intentional unlawful conduct and statements created a

hostile work environment for Plaintiff because of her race, African American. The

Defendant's statements and adverse actions towards the Plaintiff were unwelcoming,

intentional, and intimidating. The Plaintiff requested to be demoted in order to relieve

herself of the constant harassment. The Plaintiff made the request under the

management of Steve Thomas, Frank Chilsom and Greg Ludwig in the Columbus

and Savannah market because the unlawful practices were carried out in both

markets.


       122.    The plaintiff found herself crying and praying about the conduct of the

Defendants. The Plaintiff began to feel depressed, uncomfortable, and fearful while

performing her duties. Each Defendant acted on behalf of themselves and should be

held liable.


       123. The Defendants developed a consistent and frequent pattern of targeted

and intentional harassing practices. The plaintiff termination and reassignments were

a direct result of the plaintiffs complaints, opposition to unlawful acts, and

questioning of patterns that were unlawful and frequendy practiced by employees of
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TMX. The Defendants cannot show any legitimate reasons for its patterns of

employment practices and any reasons given by TMX for its actions against the
Plaintiff are pretextual.

              a.    The Defendants subjected the plaintiff to frequent and

       unwelcoming patterns of racially motivated harassment that created a hostile

      work environment. This practice was intentional, unlawful, abusive, coerced,

       malicious, and done with reckless disregard to Plaintiff right to be free from

       harassment that created a hostile work environment because she complained,

       opposed, and/or questioned what appeared to be a pattern of unlawful

       practices.

              b.    As a result of the severe and pervasive conduct by TMX

       employees the Plaintiff has suffered damages, including, but not limited to:

       past and future lost wages, pain ancj suffering, inconvenience, mental anguish,

       difficulty concentrating, anxiety, disassociation, crying spells loss of enjoyment

       of life, humiliation, emotional distress, reputational harm. In addition, the

      plaintiff experienced nightmares, fear of leaving her home. Plaintiff lost her

       desire to have children.


              c.    Defendants' unlawful actions were intentional, wOlful, malicious,

       and/or done with reckless disregard to the Plaintiff right to be free from race

       discrimination, harassment and abuse.




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                d.    A reasonable person of African American race in the plaintiff

         position would have found the work environment to be hostile by race

         discrimination, harassment, and retaliation.

                e.    Management level employees and Human Resource knew, or

          should have known; that their conduct subjected the plaintiff to a hostile work

          environment was unlawful.


                f.    Defendants did not exercise reasonable care to prevent the creation

          of a hostile work environment charged with race discrimination, and did not

          exercise reasonable care to protect the plaintiff from being exposed to the

         unwelcome behavior by her supervisors.

                g.    Defendant TMX discriminatory harassing and abusive practices

          on the basis of race would deter any reasonable African American from

          engaging in protected actiyity.42 U.S.C. §1981,Section 704(a) of Tide VII, 42

         U.S.C. § 2000e-3(a).

                h.    TMX discriminated against the Plaintiff on the basis of race in

         violation of Section 703(a) of Title VII, 42 U.S.C. § 2000e-2(a)

                i.    Plaintiff- is entided to back pay, front pay, compensatory and

         punitive damages in an amount proven at trial.

                             Nineteenth Claim for Relief
 Hostile Work Environment/I Harassment on the Basis of Race Discrimination in
Violation of Title Vn of the CivO Rights Act of 1964.Section 703(a) of Title VIL 42
                               U.S.C. § 2000e-2(al3(a1
      fTitlemax of Georgia. Steve Thomas. Greg Ludwig. Clav Alexander. Jason
                                  Broce. Erin FrittsV

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Plaintiff restates^ re-alleges, and incorporates by reference all other Paragraphs ofthis
Complaint as if fully stated herein.

              124. The Plaintiff multiple complaints to TMX did not warrant the

      Defendants to conduct an internal investigation instead it prompted the defendants

      Human Resource to aid and abet in harassment in efforts to create a hostile work

      environment. The Defendants subjected Plaintiffs to harassment and a hostile work

      environment because of her race in violation of Title VII of the Civil Rights Act of

      1964.


              125. The Defendant's subjected the plaintiff to unwelcome harassment

      because of her race; therefore, making Tracy Young and Titlemax responsible for his

      supervisor's acts of intentional negligence, intimidation, retaliation, discrimination,

      and many forms of harassment including power, discriminatory, personal and

      psychological harassment.

              126. To include what's referenced above the Defendants harassed and created


      a hostile work environment each time a staff member was removed from under the


      plaintiffs leadership; forcing the plaintiff to continuously train new staff members.

      Intentionally making the plaintiff work much harder. The Defendants engaged in a

      pattern of intimidation, name calling, intentional negligence to provide a safe

      working environment, bullying, and workplace abuse causing the plaintiff to work in

      fear. The conduct of Greg was racially motivated to make the Plaintiff feel less than

      Caucasians. The Plaintiff was forced to watch Caucasian females handed offices that


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she fixed; while she would be placed in the worst office in the region. Because the

Plaintiff is African American, Tidemax intentional pattern of discriminatory practices

landed the Plaintiff in the worst offices, with the highest slow file in the region;

forcing the Plaintiff to overwork and prove herself while Caucasian employees were

treated more favorably. The Defendants made mockery of the plaintiff, humiliated the

Plaintiff and engaged in coerced and malicious acts of discrimination, retaliation and

harassment; creating a hostile work environment.

       127. Defendants' intentional unlawful conduct and statements created a

hostile work environment for the Plaintiff because of her race, African American. The

Defendant's statements and adverse actions to the Plaintiff were unwelcoming,

intentional and intimidating. The Plaintiff requested to be demoted in order to relieve

herself of llie constant harassment she faced because of her race. Plaintiff made the

request under the management of Steve Thomas, and Greg Ludwig in the Savannah

market because the unlawful acts were carried out and intended to create a hostile


work environment.


       128. The plaintiff found herself crying and praying about the conduct of the

Defendants. The Plaintiff began to feel depressed, uncomfortable, and fearful while

performing her duties. Each Defendant acted on behalf of themselves and should be

held liable.


      129. Defendants developed a consistent and frequent pattern of targeted and

intentional discriminatory harassment practices. The plaintiff termination and all

reassignments were a direct result of the plaintiffs complaints, opposition to unlawful
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acts and the questioning of patterns that were unlawful and frequently practiced by
employees ofTMX. The Defendants cannot show any legitimate reasons for its
pattern employment practices and any reasons given by TMX for its actions against

the Plaintiff are pretextual.

              a.    The Defendants subjected the plaintiff to frequent and

      unwelcoming patterns of racially motivated harassment that created a hostile

      work environment. This practice was unlawful, abusive, coerced, malicious,

       and done with a reckless disregard of the Plaintiff right to be free from

      harassment that created a hostile work environment because she complained,

       opposed, and/or questioned what appeared to be a pattern of unlawful

      practices.

             b.     As a result of the severe and pervasive conduct by TMX

       employees the Plaintiff has suffered damages, including, but not limited to:

      past and future lost wages, pain and suffering, inconvenience, mental anguish,

       difficulty concentrating, anxiety, disassociation, crying spells, loss of

       enjoyment of life, humiliation, emotional distress, reputational harm. In

       addition, the plaintiff experienced nightmares, fear of leaving her home.

      Plaintiff lost her desire to have children.


              c.    Defendants' unlawful actions were intentional, willful, malicious,

      and/or done with reckless disregard to the Plaintiff right to be free from race

      discrimination, harassment and abuse.



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              d.     A reasonable person of African American race in the plaintiff

        position would have found the work environment to be hostile by race

        discrimination, harassment, and retaliation.

              e.     Management level employees and Human Resource knew, or

        should have known, that their conduct subjected the plaintiff to a hostile work

        environment and it was unlawful.


              f.     The Defendants did not exercise reasonable care to prevent the

        creation of a hostile work environment charged with race discrimination, and

        did not exercise reasonable care to protect the plaintiff from being exposed to

        the unwelcome behavior by her supervisor that created a hostile work

        environment.


              g.     Defendant TMX harassing and abusive practices on the basis of

        race would deter any reasonable African American from engaging in protected

        activity Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a).

              h.     TMX discriminated against the Plaintiff on the basis of race in

        violation of Section 703(a) of Title VII, 42 U.S.C. § 2000e-2(a)

              i.     Plaintiff- is entitled to back pay, front pay, compensatory and

        punitive damages in an amount proven at trial

                              Tenth Claim for Relief
Color Discrimination (Disparate Treatment^ in Violation of Title VII of the CivO
                   Rights Act of 1964. 42U.S.C, S2000e. et seq
                             (Titlemax of Georgia^




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Plaintiffrestates, realizes, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            130. Plaintiff is a dark skinned African American; a member of a protected

      class. The Plaintiff was meeting TMX expectations. The Plaintiff suffered adverse

      employment action when the defendants engaged in conspiracy to remove her staff

      members from office; subsequently transferring them to a specific side of town to

      work with lighter skinned general managers. The Defendants intentionally and

      maliciously placed the Plaintiff in offices that had the highest slow file and low

      earning potential in impoverished communities because she is dark skinned. This

      pattern of discriminatory conduct was intentional in efforts to make the plaintiff work

      much harder and to create a hostile work environment. The Defendants engaged in

      patterns that subjected the Plaintiff to being placed in offices that held the highest

      slow file on a specific side of town because of the color of her skin in violation of

      Tide VII of the Civil Rights Act of 1964.

            131. The Plaintiff alleges that the Defendants engage in patterns of

      conspiracy, coercion, and unlawful practices in order to discriminate against her due

      to the color of her skin. TMX did not subject similarly situated employees to the

      same treatment. Lighter skinned employees were not subjected to proving that they

      were qualified for their positions or experienced repeated changes to their staff. Light

      skinned employees were allowed to complete their general manager training, have

      audits conducted at their work site, and allowed to be the leading managers of their

      offices longer than the plaintiffwas allowed to work as leading manager of any of the
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offices she managed. Light skinned employees ofTMX were not demoted to the
worst offices in the region for performing well and placed in the least earning

potential offices in impoverished communities. The mentioned intentional and
unlawful acts occurred under the leadership of Steve Thomas, Frank Chilsom, and

Greg Ludwig with the assistance of Human Resource employees aiding and abetting.

Under the leadership of Steve Thomas the plaintiff staffmembers were intentionally

removed from office and placed in the offices with the highest earning potential with

general managers that are lighter than the plaintiff leaving her to work alone, beg for

lunch breaks, and start new training for new employees therefore creating a hostile

work environment with the intent of color discrimination.

      132. The parties conspired and attempted to promote and/ or transfer Chybria

(light, African American, female) by using the Plaintiff performance knowing that it's

impossible to learn 4 positions in 2 months of employment. TMX removed the

Plaintiff staff members from her leadership and placed them under the leadership of

light skinned employees, leaving the Plaintiff to work alone, begging for lunch

breaks and off days. TMX would rehire a new employee for the Plaintiff to train and

never thought of doing the same to other general managers continuously in both

markets.


      133. There is not one similar situated light skinned employee in the region

that has generated more in revenue and profit from November 2017 to October 2020

than the plaintiff, acknowledged 3 times as the number one office in the district or

region, reassigned 5 times as general manager in less than 2 years,, managed 13
                                                                                       88
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employees in less than 2 years and demoted for extraordinary performance to the
worst office with the highest slow file in impoverished communities.

      134. TMX took adverse employment actions by intentionally subjecting the

plaintiff to threats of reducing her salary by termination, placing her on suspension,

forcing her to work in a unsafe facility, failing to promote, denial of training, and

reassigning her to less favorable office locations in impoverished communities,

forcing her to beg for lunch breaks and off days, and terminating the plaintiff for in

protected activities on the basis of color discrimination.

             a.     Defendants developed a consistent pattern of failing to promote

      instead choosing to demote the plaintiff for actually meeting TMX expectation.

      The plaintiff termination was a direct result of the plaintiffs complaints,

      oppositions and the questioning of patterns that were unlawful and frequently

      practiced by employees of TMX. The Defendants cannot show any legitimate

      nondiscriminatoiy reasons for its employment practices and any reasons given

      by TMX for its actions against the Plaintiff are pretextual.

             b.    Plaintiff color was the determining factor and/or a motivating

      factor for the Defendants' pattern and practices of adverse employment action

      by intentionally using her color to deny her the opportunity to work on what is

      considered "the white side of town" in offices with higher earning potentials,

      and her color to deny training or opportunity for promotion or pre-promotion

      training.



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           c.     Plaintiff does not believe any reasonable dark-skinned person not

    would have agreed to leave their home overnight to be placed in an office that

    would have decreased their earning potential due to the previous staff member's

    work, performance, and inability to meet performance goals in an honest and

    transparent way. A reasonable person of African American race in the plaintiff

    position would have found their employment at TMX to be contaminated with

    color discrimination and segregation.

           d.     Defendants' TMX pattern of discriminatory practices would deter

    any reasonable dark-skinned person from engaging in protected activity.

           e.     Kristen, Niya, Gabriel Ty, and Valencia, Tabitha, and Natasha

    were afforded the time to complete their general manager training and not

    subjected to color discrimination. They were treated more favorably than the

    plaintiff at all times.

           f.     As a result of the severe and pervasive conduct by the Defendants

    in violations of Plaintiff have suffered damages, including, but not limited to:

    past and future lost wages, pain and suffering, inconvenience, mental anguish,

    difficulty concentrating, anxiety, disassociation, crying spells, loss of

    enjoyment of life, humiliation, emotional distress, reputational harm, in

    addition, the plaintiff experienced nightmares, and fear of leaving her home.

    Plaintiff lost her desire to have children due to the extreme conduct of the

    employees of Titlemax.



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                   g.    Defendants subjected the plaintiff frequent and unwelcoming
            pattern of intentional acts that were conspired, unlawful, systemic, intentional,
            willful, abusive, premeditated, malicious, and done with reckless disregard to

            the Plaintiff right as an employee to be free from discrimination basis of color.

                   h.    Titlemax discriminated against the plaintiff on the basis of color in

            violation of 42 U.S.C. § 1981,Section 703(a) of Title VII, 42 U.S.C. §

            2000e-2(a)

                   i.    Plaintiff- is entitled to back pay, front pay, compensatory and

            punitive damages in an amount proven at trial.

                                 Eleventh Claim for Relief
       Retaliation based on Color in Violation of the Title VII of the Civil Rights Act
               of 1964. Section 704ra) of Title VII.42 U.S.C. § 2000e-3ra).
                                       (Titlemax of Georgia,)


Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as If fully stated herein.

            135. The Plaintiff multiple complaints and opposition of unlawful

      discrimination to TMX Human Resource associates did not cause the Defendant

      TMX to conduct an internal investigation instead it prompted the defendants Human

      Resource associates to aid and abet in retaliation with the intent to punish the plaintiff

      for engaging in protected activities. The Defendants discriminated against Plaintiffs

      because of her protected activity and opposing unlawful acts on the basis of color

      discrimination in violation of Tide VII of the Civil Rights Act of 1964.



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      136. Under Greg's and Steve's leadership with Human Resource of TMX

aiding and abetting the plaintiff experienced a pattern ofretaliation by demoting her
in front of herpeers because of the color of her skin by reassigning the plaintiff to the
less profitable office in the region in impoverished communities, writing her up for

asking for an off day, suspending the plaintiff, threatening to terminate her for

reaching out for help. The parties mentioned subjected the plaintiff to a framework of

conspiracies to move the plaintiff to different offices, used the color of her skin to

determine the location she would report for duty, and wrongfully terminated the

plaintiffs employment because of her engagement in protected activities. Each

Defendant acted on behalf of themselves and should be held liable.


             a.    Defendants developed a consistent pattern of retaliation by failing

      to promote instead choosing to demote the plaintiff to offices with the highest

      slow file in impoverished communities for actually meeting TMX expectation.

      The plaintiff termination and reassignment were a direct result of the Plaintiff's

      complaints, opposition to and the questioning of patterns that were unlawful

      and frequentiy practiced by employees of TMX. The Defendants cannot show

      any legitimate reasons for its pattern employment practices and any reasons

      given by TMX for its actions against the Plaintiff are pretextual.

             b.    Defendants subjected the plaintiff to frequent and unwelcoming

      patterns of intentional and premeditated retaliation because of her skin color.

      This practice was intentional, unlawful, abusive, coerced, malicious, and done

      with reckless disregard to the Plaintiff right to be free from retaliation because
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            she complained, opposed, and questioned what appeared to be a pattern of
            unlawful practices.

                  c.     As a result of the severe and pervasive conduct by the TMX

            employees the Plaintiff has suffered damages, including, but not limited to:

            past and future lost wages, pain and suffering, inconvenience, mental anguish,

            difficulty concentrating, anxiety, disassociation, crying speUs, loss of

            enjoyment of life, humiliation, emotional distress, reputational harm. In

            addition, the plaintiff experienced nightmares, fear of leaving her home.

            Plaintiff lost her desire to have children, and feel ashamed of being African

            American and began to dislike the color of her skin.

                  d.     Defendants' retaliatory and abusive practices would deter any

            reasonable dark skinned person engaging in protected activity. Section 704(a)

            of Title VII, 42 U.S.C. § 2000e-3(a).

                  e.     Plaintiff- is entitled to back pay, front pay, compensatory and

            punitive damages in an amount proven at trial

                                  Twelfth Claim for Relief
       Harassment/Hostile Work Environment on the Basis of Color Discrimination
in Violation of Title VII of the Civil Rights Act of 1964. Section 703ra^ of Title VIL 42
                                  U.S.C. § 2000e-2fa^,3fa1
                                       (Titlemax of Georgia^^

Plaintiff restates^ re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.




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       137. The Plaintiff multiple complaints to Defendants' it did not cause

Defendants to conduct an internal investigation instead it prompted the defendants

Human Resource to aid and abet in harassment in efforts to create a hostile work

environment. Each Defendant acted on behalf of themselves and should be held

liable. The Defendants subjected Plaintiffs to harassment and a hostile work

environment because of her color in violation of Title VII of the Civil Rights Act of

1964


       138. The Defendant's subjected the plaintiff to unwelcome harassment

because of the color of her skin; therefore, making Tracy Young and Titlemax

responsible for his supervisor's acts of intentional intimidation, retaliation,

discrimination, and many forms of harassment including power, discriminatory,

personal and psychological.

       139. The Defendants harassed and created a hostile work environment when


they had a brown skinned female general manager visit the plaintiff office to conduct

an audit of the plaintiffs work after the plaintiff informed Human Resource Greg has

not done an audit of the plaintiffs work nor reviewed them as he did for other general

managers. Human Resource allowed Greg Ludwig to use brown African American

females to create a hostile work environment, to engage in intimidation practices, and

to perform the duties of the District Director; the plaintiff numbers were better than

the general manager Niya. The defendants refused to give the plaintiff the

opportunity to train for promotion and used Niya to intimidate the plaintiff. Greg



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kept asking if certain things were done and when she would say yes, he would ask
her if she was sure over and over. The Plaintiffleft the lobby and went to the back.

      140. The Defendants knew that the plaintiff's work made her qualified to

work in one of the bigger offices that was considered the "the Caucasian side of

town" however, Greg and Human Resources still insisted on placing the Plaintiff in

the offices in communities that were impoverished due to the color of her skin.

Because of the color of the plaintiffs skin Titlemax intentional discriminatory

practices landed the plaintiff in the worst offices, with the highest slow file, in

impoverished communities only for her to be made mockery of and prove that her

work was sufficient and effective while lighter skinned employees were placed in

offices that held a higher earning potential; therefore creating a hostile work

environment.


      141. Greg Ludwig referred to the plaintiff by the color of her skin by "Dear

Brown". Plaintiff nickname is "Dear" and last name is Brown. Greg Ludwig was

asked not to refer to the plaintiff as Dear Brown. He did not use another employee's

last name when he referred to them by their nickname. This practice was intentional,

hurtful, malicious, and constant. The Plaintiff was depressed, uncomfortable, and

worked in fear while performing her duties.

      142. Defendants subjected the plaintiff to frequent and unwelcoming patterns

of intentional and premeditated discriminatory harassment. This practice was

unlawful, abusive, coerced, malicious, intentionally done with reckless disregard to

Plaintiff right to be free from harassment that created a hostile work environment
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because she complained, opposed, and questioned what appeared to be a pattern of
unlawful practices.

             a.       Defendants developed a consistentand frequent pattern of

      harassing the plaintiffby placing the Plaintiffin impoverished communities

      despite her performance because she is dark skinned. The plaintifftermination

      and reassignments were a direct result of the plaintiffs complaints, opposition

      to and the questioning of patterns that were unlawful and frequently practiced

      by employees of TMX. The Defendants cannot show any legitimate reasons

      for its pattern employment practices and any reasons given by TMX for its

      actions against the Plaintiff are pretextual.

            b.        As a result of the severe and pervasive conduct by the TMX

      employees the Plaintiff has suffered damages, including, but not limited to:

      past and future lost wages, pain and suffering, inconvenience, mental anguish,

      difficulty concentrating, anxiety, disassociation, crying spells, loss of

      enjoyment of life, humiliation, emotional distress, reputational harm. In

      addition, the plaintiff experienced nightmares, fear of leaving her home.

      Plaintiff lost her desire to have children.


            c.        A reasonable person dark skinned in color in the plaintiff position

      would have found the work environment to be hostile due to harassment,

      retaliation, and discrimination on the basis of color.




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           d.      Management level employees and Human Resource knew, or
     should have known, that their conductsubjected the plaintiff to a hostile work

     environment.


           e.      Defendants' unlawful actions were intentional, willful, malicious,

     and/or done with reckless disregard to the Plaintiffright to be free from color

     discrimination, harassment and abuse.

           f.      Defendants did not exercise reasonable care to prevent the creation

     of a hostile work environment charged with color discrimination, and did not

     exercise reasonable care to protect the plaintiff from being exposed to the

     unwelcome behavior.


           g.      Defendant TMX harassing and abusive practices on the basis of

     color discrimination would deter any reasonable dark skinned person from

     engaging in protected activity Section 704(a) of Titie VII, 42 U.S.C. §

     2000e-3(a).

           h.      TMX discriminated against the Plaintiff on the basis of color in

     violation of Section 703(a) of Tide VII, 42 U.S.C. § 2000e-2(a)

           i.       Plaintiff- is entitied to back pay, front pay, compensatory and

     punitive damages in an amount proven at trial.

                         Thirteenth Claim for Relief
 Gender Discrimination (Disparate Treatment), in Violation of Title VII of the
Civil Rights Act of 1964. 42U.S.C. S 2000e. et seq. 42 U.S.C. S 2000e-2(a)

                                (Titlemax of Georgia)


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Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this
Complaint as if fully stated herein.

            143. The plaintiff is a female. She suffered adverse action when TMX

      employees engaged in conspiracy, fraudulent inducement, and coercion and

      intentional discrimination when the defendants conspired to have the plaintiff relocate

      to the city of Savannah, Georgia and made false promises to promote district director

      due to her performance. The plaintiff exceeded TMX expectations in all areas of

      business in an honest and transparent way. The Defendants of TMX terminated Frank

      Chilsom and did not close any establishments that would cause for elimination of a

      position in the region. Instead TMX divided the districts between Greg and Mike so

      that their income would increase significantly, while the Plaintiff was simply left

      earning the same salaiy as she did prior to coming to Savannah. The Plaintiff still

      believed she was going to be promoted to a District Director position when she

      returned to work in March 2021 at some point but she was humiliated instead in

      violation. Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq

            144. Jason Broce expressed to the Plaintiff that she should be happy that she

      still has a job. During one of the conference calls Greg stated that TMX was adding 2

      area manager positions to each district before the Plaintiff was terminated. Area

      manager was not the position the Plaintiff was promised.

            145. The Defendants did not pay the plaintiff her fair share of profit of $

      200,000 and it is still owed to her. The Defendants received their percentage profit

      from the Plaintiffperformance when she exceeded expectations. The Defendants did
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not contribute to any part of the Plaintiff training material that led to the increase of
the return of assets. The Plaintiff did not complete general manager training; however

she exceeded expectations. (The Plaintiff asked EEOC to add equal pay to her

complaint several times but] they refused to do so)

      146.    The TMX knew or should have known the likelihood of eliminating a

position before making false promises to the Plaintiff. Also TMX knew changing the

Plaintiff employment status from exempt to nonexempt throughout the year, her

hourly pay to $17.00,14.00, 13.50 was wrong. TMX has not explained how the

Plaintiff earned the same pay in two different offices that did not have the same total

account.


      147. The plaintiff alleges the Defendants did not place Gabriel, Raydell, or,

Leon in the worst offices in the region when they performed well and neither one of

them has achieved what the plaintiff has achieved since the plaintiff was promoted as

Store Manager and General Manager. Gabriel was not denied the opportunity to earn

more income for himself or placed in an office that is in a less fortunate community.

      148. The defendants took adverse action when they eliminated a district

director position; forcing the Plaintiff to face financial hardship because of their

deceit. Also forcing her to work in an unsafe facility, denying her training and the

opportunity to be a trainer, reassigning her to less favorable office locations in

impoverished communities, and using the Plaintiff performance to advance male

employees while she had to prove herself over and over.



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           a.       The plaintiff was discriminated against for complaining about
    gender discrimination, opposing and the questioning ofpatterns that were
    unlawful and frequendy practiced by employees of TMX. The Defendants

    cannot show any legitimate nondisaiminatoiy reasons for its employment

    practices and any reasons given by TMX for its actions against the Plaintiff are

    pretextual.

           b.       Plaintiff gender was the determining factor and/or a motivating

    factor for the Defendants' pattern and practices of adverse employment action

    by intentionally treating her differendy from male co-workers.

           c.       A reasonable female e in the plaintiff position would have found

    their employment at TMX to be contaminated with gender discrimination.

           d.       Defendants' TMX pattern of discriminatory practices would deter

    any reasonable female from engaging in protected activity.

           e.       Raydell, Leon, Gabriel, Trellis, Greg, and Mike were not subjected

    to gender discrimination. They were treated more favorably than the plaintiff

    at all times,


           f.       As a result of the severe and pervasive conduct by the Defendants

    in violations of Tide VII, Plaintiff have suffered damages, including, but not

    limited to: past and future lost wages, pain and suffering, inconvenience,

    mental anguish, difficulty concentrating, anxiety, disassociation, crying spells

    loss of enjoyment of life, humiliation, emotional distress, reputational harm, in

    addition, the plaintiff experienced nightmares, and fear of leaving her home.
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            Plaintiff lost her desire to have children, and feel ashamed of being dark

            skinned African American.


                   g.    Defendants subjected the plaintiff frequent and unwelcoming

            patterns of intentional acts that were conspired, unlawful, systemic, intentional,
            willful, abusive, premeditated, malicious, and done with reckless disregard to

            the Plaintiff right as an employee to be free from discrimination basis of her

            gender.

                   h.    Titlemax discriminated against the plaintiff on the basis of gender

            in violation of Section 703(a) of Title VII, 42 U.S.C. § 2000e-2(a)

                   i.    Plaintiff- is entitled to back pay, front pay, compensatory and

            punitive damages in an amount proven at trial.

                                Fourteenth Claim for Relief
  Hostile Work Environment on the Basis of Gender Discrimination in Violation of
   Title Vn of the Civil Rights Act of 1964 .Section 703fal of Title VIL 42 U.S.C. S
                                       2000e-2(aV3fa^

                                   (Titlemax of Georgia^

Plaintiff restates^ re-alleges^ and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            149. The Plaintiff multiple complaints to TMX did not cause Defendants to

      conduct an intemal investigation instead it prompted the Human Resource associates

      to aid and abet in discriminatory and retaliatory acts that created a hostile work

      environment because she is a female. The Defendants subjected Plaintiffs to




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harassment and a hostile work environment because of her gender in violation of

Title VII of the Civil Rights Act of 1964

      150. The Defendants' conduct created a hostile work environment for

Plaintiffbecause of her gender. Defendants' Human Resource department statements

to the Plaintiff were misleading and deceitful. TMX forced the Plaintiff to lift and

cany heavy sandbags, forced her to go behind the building at night that they knew

was unsafe, forced her to work off the clock because she did not have children and

could dedicate time. TMX treated the Plaintiff like she was a man instead of female.

She was forced to dispose of heavy office furniture, told she had to cut grass and she

was less deserving than Gabriel and Leon by Human Resource when she mentioned

she was treated differendy from the males. The Plaintiff was disrespected often by

Human Resource and Greg especially when she complained.

      151. Defendants intentionally harassed and created a hostile work

environment from March 2021 until she was terminated. She repeatedly asked for the

behavior to cease. When the defendants were told that their actions brought the

plaintiff to tears they still would not leave her alone. If it was not Greg it was Clay. If

it was not Clay then it was Jason.

      152. The defendants had the opportunity to correct their behavior but chose

to turn up the heat when the plaintiff complained. Greg's, Clay, Jason and Steve

behavior were unacceptable and created a hostile environment. The plaintiff was

denied all opportunities to earn more money and was treated less than the men

working for Tidemax in both markets.
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      153. As a result of the severe and pervasive conductby the TMX employees

the Plaintiff has suffered damages, including, but not limited to: pastand future lost

wages, pain and suffering, inconvenience, mental anguish, difficulty concentrating,

anxiety, disassociation, crying spells, loss of enjoyment of life, humiliation,

emotional distress, reputational harm. In addition, the plaintiff experienced

nightmares, fear of leaving her home. Plaintiff lost her desire to have children.

               a.   Defendants subjected the plaintiff to frequent and unwelcoming

      patterns of intentional and premeditated discriminatory harassment. This

      practice was unlawful, abusive, coerced, malicious, intentionally done with

      reckless disregard to Plaintiff right to be free from harassment that created a

      hostile work environment because she complained, opposed, and questioned

      what appeared to be a pattern of unlawful practices.

               b.   A reasonable female in the Plaintiff position would have found the

      work environment to be hostile and polluted by gender discrimination and

      abuse.


               c.   Management level employees and Human Resource knew, or

      should have known, that their conduct subjected the plaintiff to a hostile work

      environment.


               d.    Defendants' unlawful actions were intentional, willful, malicious,

      and/or done with reckless disregard to the Plaintiff right to be free from gender

      discrimination, harassment and abuse.



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                   e.     A reasonable female in the plaintiff position would have found the

            work environment to be hostile due to harassment, retaliation, and

             discrimination on the basis of gender.

                   f.     Defendants did not exercise reasonable care to prevent the creation

             of a hostile work environment charged with gender discrimination, and did not

             exercise reasonable care to protect the plaintiff from being exposed to the

            unwelcome behavior.


                   g.     Defendant TMX harassing and abusive practices on the basis of

             gender discrimination would deter any reasonable female from engaging in

            protected activity Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a).

                   h.     TMX discriminated against the Plaintiff on the basis of gender in

            violation of Section 703(a) of Tide VII, 42 U.S.C. § 2000e-2(a).

                   i.     Plaintiff- is entided to back pay, front pay, compensatory and

            punitive damages in an amount proven at trial.

                                  Fifteenth Claim for Relief
                                 Defamation QCGAS 51-5-1
   rritlemax of Georgia. Greg Ludwig. Rachel Hudson. Tabitha McCallum. Kellv
                             Cummings. and Doe l-5\



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

            154. The Defendants known and unknown has made false statements about

      the Plaintiff to third parties alleging that the plaintiff was in a hospital, suicidal and a

      threat to herself, wrongfully repossessed a vehicle, engaged customers in "sheer"
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pajamas pants, she is bizarre, and other defamatory statements. The Defendants have
intentionally sexualized the plaintiff employment matter insinuating that she engaged
with their customers in attire that exposed her underwear or private parts without

proof.

         155. The Defendants have communicated information to third parties without

any supporting facts. The Defendants communicated information with the intent to

mislead an investigator and others. The employees of TMX also went on a hunt to

recruit employees that were willing to aid and abet in acts of defamation. The

Defendants intentionally made misleading statements with the purpose of

humiliating, injuring, and or damaging the Plaintiffs reputation.

         156. The Human Resource associates of TMX neglected their obligation to

investigate any and all concerns brought forth by the Plaintiff and those brought

forth by others because at least one of them was aiding, abetting and, or participating

in acts of defamation at all times.TMX employees knew or should have known they

were giving false information without proof to third parties.

         157. The Defendant's assertions were intended as statements of facts and not


opinions. Plaintiff believes that Defendant acts, conspired to, and did negligendy,

recklessly, and intentionally cause internal and external publications of defamation of

Plaintiff to third parties. The defendants failed to investigate adequately or verify

purported facts underlying the defamatory assertions. Defendant statements were

made with ill will for the Plaintiff. Therefore, there is no privilege to protect the


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        Defendants from liability for any of each defamatory act that has been stated or
        written.


              158. As a result of the severe and pervasive defamation by TMX employees

        the Plaintiff has suffered damages, including, but not limited to:, pain and suffering,

        inconvenience, mental anguish, difficulty concentrating, anxiety, disassociation,

        crying spells, loss of enjoyment of life, humiliation, emotional distress, and

        reputational harm. In addition, the plaintiff experienced nightmares, and fear of

        leaving her home.

              159. EACH assertion made by the TMX and employees are in the hands of

        the defendants and the proof will be subject to discovery.

              160. WHEREFORE, plaintiff demands judgment against the defendant,

        jointly and severally. As follows:

   a.         For compensatory damages in an amount to be proven at trial;

   b.         For punitive damages in an amount to be proven at trial;

   c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.

                                  Sixteenth Claim for Relief
                         Intentional Infliction of Emotional Distress
                                        (All Defendants!



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.



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      161. The Defendants and each of them engaged in outrageous and or extreme

conduct towards the Plaintiff with the intention to cause, or with reckless disregard

for the probability of causing the Plaintiff emotional distress. The Plaintiff suffered
and continues to suffer from severe emotional distress due to the intentional acts

committed by each of the Defendant mentioned and not mentioned in this complaint.

The conduct was a pattern and practice of extreme and outrageous behavior. The

conduct was intended to cause severe emotional distress, or was done in conscious

disregard of the probability of causing emotional distress. This conduct was not the

sort of behavior expected from an employer.

      162. The Defendants and each of them condoned, participated, and

committed outrageous and extreme acts mentioned in this complaint and those that

are not mentioned.


      163. The Defendants, and each of them, committed the acts as alleged

maliciously with the sole intention of harming the Plaintiff and improper motive

amounting to malice, and in conscious disregard of the harm the Plaintiff suffered

and continues to suffer.


      164. TMX employees known and unknown in this complaint committed,

aided and abetted in discriminatory, retaliatory, harassing, and or other unlawful and

abusive acts due to the Plaintiff's engagement in protected activity. The behavior and

acts of the Defendants seem to be acceptable to Tracey Young (CEO) because he was

aware of the conduct of his employees and failed to intervene.



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              165. As a direct and proximate result of the Defendant's intentional,

        malicious, reckless, abusive, and unlawful infliction of emotional distress, the

        Plaintiff has suffered and continues to suffer from extreme anxiety, humiliation,

        embarrassment, emotional distress, sadness, fearful of leaving her home, insomnia,

        depression, crying spells, disassociation, loss of enjoyment of life.

              166. WHEREFORE, plaintiff demands judgment against the defendant,

        jointly and severally. As follows:

   a.         For compensatory damages in an amount to be proven at trial;

   b.         For punitive damages in an amount to be proven at trial;

   c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.

                                 Seventeenth Claim for Relief
                     Wrongful Termination in violation of Public Policy
                       rritlemax of Georgia. Erin Fritts. Greg Ludwi^)



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

              167. The Plaintiff believes and alleges that the Defendants' decisions to

        harass, retaliate and discriminate against her, as alleged, was motivated by the

        Plaintiff's race, gender, color, disability, questioning and opposing unlawful conduct.

        The plaintiff was terminated for refusing to be subjected to such conduct. The

        Defendants intentionally executed the mentioned discrimination, harassment, and

        retaliation; creating work conditions so intolerable that the Plaintiffrequested to be
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demoted in effort to relieve herself of the responsibilities that forced her to be

subjected to a continuation pattern ofunlawful acts; the was Plaintiff terminated
instead.


      168. TMX alleges that the plaintiff had a vehicle wrongfully repossessed.

Even if the plaintiff did do such a thing, the lAA driver is solely responsible for the

wrongfuUy repossession because all repossessions are supposed to be reported to the

local authorities and the vendor is supposed to identify the full V.I.N. of all voluntary

and involuntary repossessed vehicles. The repossession could have and should have

been prevented if and only if lAA revealed the fuU V.I.N to the vendor they assign to

recover a vehicle. Greg Ludwig knew that Kelly Cummings sent/copied him an email

informing him that she was having the vehicle removed and he secredy

communicated with her up until he found the time to terminate the plaintiff after she

labored all day. Erin Fritts aided Greg in his unlawful, malicious act, and neglected

her duty as a Human Resource Specialist to investigate and grant the Plaintiff due

process.


      169. Nathaniel knew or should have known that part of his role as Regional

Vice President of Operations that the Plaintiff was entitled to due process. Mr.

Anderson deprived the Plaintiff of her "properly right" which is protected under the

Fifth Amendment of the United States Constitution. The Plaintiff was entitied to

know the nature of the alleged misconduct or performance deficiencies and given a

reasonable opportunity to respond to those allegations before any decisions of

adverse action were enforced. Nathaniel's decision to terminate the Plaintiff can NOT

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be justified. Each person working in the Human Resource Department, the Benefits
Department, Greg Ludwig, Alexandria Tropea, and the CEO knew ofthe Plaintiff
protected activity and opposition of unlawful discriminatory practices.

      170. Greg Ludwig knew the Plaintiff did not violate the company policy and

did not make any efforts to speak with the Plaintiff about the incidentthat led to her

termination. Greg was 100% aware of the Plaintiff protected activity and he knew of

the complaints made against him to the Human Resource Department. He also knew

that associates of Human Resource were aiding and abetting in all unlawful acts he

took against the Plaintiff.

      171. Erin Fritts knew that she was involved in the unfit for duty scheme and

she was 100% aware of the Plaintiffs protected activity. Erin intentionally and

maliciously neglected her duties as a human resource representative with the intent of

demoralizing and retaliating against the plaintiff for questioning the actions of

Human Resource. She conspired, aided, and abetted in unlawful acts. She knew or

should have known that the Plaintiff had the right to due process and deserve the

opportunity to know the policy she was accused of violating.

      172. The plaintiff was the leading manager in the office and Kelly was the

subordinate. As a pattem describe with involving three different employees Greg

Ludwig spoke with the plaintiff subordinates in secret when heal knew he was

engaging in activities that deprived the plaintiff of her right to work in an

environment free of discrimination, retaliation, and harassment. The Plaintiff believes

that she cannot be liable for an email of another employee sent from their personal
                                                                                      no
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     email address that was assigned by TMX that is password protected. The Defendant's
     policy does notstate that a general manager is responsible for emails sent by a
     subordinate.


           173. Secondly, the Plaintiff believes thatshe cannot be liable for a job she

     was not employed to do such as repossession and/or the transport of any vehicle,

     reporting the secured unit to the local authorities or any damages that may have

     occurred in the process. If the Defendant's justification is that the plaintiffis Uable for

     the actions of a recovery agent, then the plaintiff and every employee should be

     licensed as a recovery/wrecker agent and also compensated for each and every

     recovered, transported, and/or secured vehicle from 1998 to the current date.

           174. Defendants, and each of them, committed or engaged in acts as alleged

     recklessly, iatentionally, and maliciously, with intentions of harming the Plaintiff

     because of their own ulterior motives and did so with a conscious disregard of the

     Plaintiff's rights and the harm she did suffer and continue to suffer.

           175. TMX discharge of the plaintiff is a direct result of the continuation of

     patterns and practices of discrimination and retaliation against the Plaintiff on the

     basis of her protected class and activities in violation of public policy. Any reason

     given is pretextual.

           176. WHEREFORE, plaintiff demands judgment against the defendant,

     jointiy and severally. As follows:

a.         For compensatory damages in an amount to be proven at trial;

b.         For punitive damages in an amount to be proven at trial;
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   c          For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.

                                  Eighteenth Claim of Relief
                 Intentional Interference with Employment bv third party
  fl3oe 1 of 5. Kelly Cummings, Nathaniel Anderson. Erin Fritts. Gre^ Ludwig. and
                                              lAA)




Plaintiff restates^ re-alleges^ and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

              177. After the Plaintiff was made aware of Kelly Cummings' error she took

        charge of the situation immediately as any general manager would do. The Plaintiff

        immediately made calls to lAA and TMX of Eufaula to make each party aware of the

        error of a wrongful repossession

              178. Kelly Cummings knowingly, willingly, and purposely gave false

        information to law enforcement to protect herself. Kelly knew she sent an email to

        Greg Ludwig and TMX of Alabama to have a vehicle removed from the premises.

        Kelly knew or should have known that someone would have received a form of

        corrective action due to her error therefore; she acted with malice and purpose to

        protect herself and her career at TMX. Kelly had no regard for the Plaintiff or the

        harm she would cause. Ms. Cummings should be held liable for intentionally and

        recklessly interfering with the Plaintiff employment with TMX

              179. Nathaniel Anderson intentionally interfered with the Plaintiffs

        employment by having the Plaintiffwrongfully terminated by two individuals that

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the Plaintiff complained about. Nathaniel knew or should have known that part ofhis
role as a Regional Vice President of Operations; the Plaintiff was entided to due
process. Mr. Anderson deprived the Plaintiff of her "property rights" which are

protected under the Fifth Amendment of the United States Constitution. The Plaintiff

was entitled to know the nature of the alleged misconduct or performance deficiencies

and given a reasonable opportunity to respond to those allegations before any

decisions or adverse action was enforced. Nathaniel's decision to terminate the

Plaintiff can NOT be justified. Each person working in the Human Resource

Department, the Benefits Department, Greg Ludwig, Alexandria Tropea, and the

CEO knew of the Plaintiff protected activity. If Nathaniel was aware of the protected

activity; he still neglected his duty to ensure that he was not violating the law and

depriving the Plaintiff of her constitutional rights. If he was not aware of the

plaintiffs protected activity then TMX acted with malice and conspired to use

Nathaniel Anderson to retaliate against the Plaintiff for engaging in protected

activities; still Mr. Anderson neglected his duty to ensure that he was not violating the

law and depriving the Plaintiff of her rights. Mr. Anderson should be held liable for

intentionally interfering with the Plaintiffs employment with TMX.

      180. Greg Ludwig knew the Plaintiff did not violate the company policy and

did not make any efforts to speak with the Plaintiff about the incident that led to her

termination. Greg was 100% aware of the Plaintiff protected activities and he knew of

the complaints made against him to the Human Resource Department. He also knew

that associates of Human Resource were aiding and abetting in all unlawful acts he
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took against the Plaintiff. He continued with his abusive behavior because there had
been no repercussions for his unlawful acts. Greg knew or should have known that
he should have recused himself from any and all matters involving investigations and

the termination of the Plaintiff. Instead he conspired to retaliate by having the

Plaintiff terminated while depriving the Plaintiff of her property rights. Greg knew or

should have known that by omitting and or misrepresenting facts was intentional

negligence and interference of the Plaintiff's employment with TMX. Greg had no

regard for the Plaintiff or the harm he would cause the plaintiff. Mr. Ludwig should

be held liable for intentionally and maliciously interfering with the Plaintiffs

employment with TMX.

      181. Erin Fritts knew that she was involved in the unfit for duty scheme and

she was 100% aware of the Plaintiffs protected activity. Erin intentionally and

maliciously neglected her duties as a human resource representative with the intent of

demoralizing and retaliating against the plaintiff for questioning the actions of

Human Resource. She conspired, aided, and abetted in unlawful acts. She knew or

should have known that the Plaintiff had the right to due process and deserve the

opportunity to know the policy she was accused of violating. When the opportunity

presented itself, Erin retaliated against the Plaintiff, aided Greg in unlawful acts,

neglected her responsibility to conduct an investigation, and expressed to the Plaintiff

that she was responsible for all errors of white employees under her leadership, and

wrongfully terminated the Plaintiff. Erin did not recuse herself but instead continued

to violate and deprive the Plaintiff of her rights. There is no lawful justification for
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Erin privileged misconduct and abuse. Erin had no regard for the Plaintiff or the
harm the Plaintiff would face due to her reckless intentional abusive behavior. Erin

Fritts is responsible for damages the Plaintiff has suffered and continues to suffer.
Ms. Fritts should be held liable for intentionally and maliciously interfering with the

Plaintiffs employment with TMX.

      182. lAA knew its employee took possession of a vehicle that was not

assigned to its company for repossession. Instead of returning the vehicle lAA

maliciously and intentionally kept a vehicle at their premises and delayed the release

of the vehicle the following day. lAA refused to return the vehicle and the Plaintiff

was held responsible. Had the lAA vendor verified the VIN number of the vehicle, a

wrongful repossession should have been prevented. lAA knew someone would be

held liable for the wrongfully repossessed vehicle and any damages made to it.

.Instead of correcting the error, LAA walked away without any accountability. LAA

had no regards for the Plaintiff and the harm she would suffer as a result of their

actions. LAA is responsible for not returning the vehicle that was wrongfuUy

repossessed and making it difficult to retrieve after being made aware of the error.

Therefore lAA is liable for interfering with the Plaintiffs employment.

      183. The Defendants and each of them had and have no lawful justification

for their tortious interference, were aware of the Plaintiff employment with TMX,

The defendant and each of them acted with their own ulterior motive that was

detrimental to the Plaintiff and should be liable for the harm the Plaintiff has suffered.




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              184. As a result of the severe, pervasive, and outrageous conduct by the
        Defendants; the Plaintiff has suffered damages, including, butnotlimited to: past and
        future lost wages, pain and suffering, inconvenience, mental anguish, difficulty
        concentrating, anxiety, disassociation, crying spells, loss of enjoyment of life,
        humiliation, emotional distress and, reputational harm. In addition, the plaintiff

        experienced nightmares, and fear of leaving her home. Plaintiff lost her desire to have

        children, feels awful of the color of her skin and being African American.

              185. Each assertion made by the TMX and employees are in the hands of the

        defendants and the proof will be subject to discovery.

              186. WHEREFORE, plaintiff demands judgment against the defendant,

        jointly and severally. As follows:

   a.         For compensatory damages in an amount to be proven at trial;

   b.         For punitive damages in an amount to be proven at trial;

   c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.

                                  Nineteenth Claim for Relief
        Vicarious Liability and Premises Liability in Violation of O.C.G.A. §51-3-1.
                                       O.C.G.A. S51-2-1.

                       (Titlemax of Georgia. Tracv Young, and lAA)


Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.




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      187. The Respondeat Superior Doctrine makes the employer liable for the
tortious or negligent acts committed by an employee as long as the acts were

committed within the scope of the employee's job. This rule is enforceable whether

the acts were committed in the employer's presence or not.

      188. The Plaintiff had an agreement to work for Tracy Young with

conditions based on performance as an at- will employee. The Plaintiff was not

direcdy employed with lAA; when Tracy Young established a relationship with lAA

the plaintiff was subjected to the terms and conditions of that agreement and or

contract whether written or spoken.

      189. Tracy Young and Tidemax were aware of the unlawful actions of his

directors and his Human Resource department. He failed to intervene; therefore he

knowingly and willingly neglected his duties and shall be liable for the actions of

each staff member and violations mentioned in this complaint. TMX employees

willingly, intentionally, and recklessly abused their authority with the intent to

discriminate, retaliate, harass, humiliate, oppress, reassign, terminate, fraudulent

induce, neglect, intimidate, conspire, defraud, omit and misrepresent facts as it relates

to the Plaintiff. The parties that engaged in the unlawful acts were acting within the

scope of their employment at all times. Tracy Young's silence does not relieve him of

accountability or liability but shows acceptance of abusive and unlawful acts

committed by staff members of TMX in prominent positions. If the conduct

mentioned is welcomed and acceptable then Tracy Young should not object to being

liable for the injuries the Plaintiffhas sustained. TMX employees did not conduct any
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investigation ofthe Plaintiff's complaints therefore at fault for neglecting its
obligations to prevent unlawful conduct by all employees mentioned in this
complaint.

      190. Due to the number of robberies that had taken place over the course of

the years, Tracy Young did not ensure every facility was properly equipped with

security devices on the outside of the premises knowing thatthere was a possibility of

any human being whether employees, customers, vendors or simply a stranger could

or would be subjected to traumatizing events at his business locations. Tracy Young

neglected his duty to provide a contingency plan in the event of someone being

injured, attacked, or threatened at his place of business. The Plaintiff has suffered and

still suffers from the incident that occurred on TMX premises that endangered her

life. Mr. Young is vicariously reliable for his negligence of not ensuring employees

are working at a safe location. TMX is liable for all incidents that injured the Plaintiff

at his business location. Therefore, Mr. Young is liable for the injuries the Plaintiff

has sustained.


      191. TMX is responsible for not making it mandatory for his employees to be

properly trained. He knew or should have known that one month of employment is

not enough time for store managers to learn the duties and responsibilities of four

positions. He also knew or should have known that three months is not enough time

to train general managers that do not have experience in the auto industry, finance

industry, retail industry, the recovery and collection industry, even if they have

managerial experience. This intentional act leads to customers being misled and
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increases the possibility offraud, misrepresentation, deceit, and violations ofrules set
by the company and those laws governed by local, state, and or federal agencies
and/or the government. Therefore, TMX is responsible for the conspiracy that led to
the Plaintiff employment with his company, all unlawful and abusive acts against the

Plaintiff during her employment, those leading up to her being terminated, and those

thereafter. The Plaintiffperformance was not being considered as she continued her

employment with TMX starting in 2014. TMX cannot justify reassigning the

Plaintiff to the worst office after reports supported her claims of being a top

performer. TMX cannot justify reassigning or promoting any employee who did not

serve at least 6 months in an office while remaining in position. There is no way to

determine performance consistency and areas for improvement if the time is not

granted to do so. The Plaintiff's employment was agreed upon and based on her

performance as a condition of her employment and not for the needs of TMX for the

purpose of correcting performance issues of employees who the company knew were

not qualified or properly trained for their position. The Plaintiff did not agree to be

the person in charge of correcting or fixing performance issues after the offices were

severely broken and damaged due to TMX intentional negligence, unfair, and

abusive practice. So, therefore Mr. Young is responsible for the decisions he allowed

to define his business by those in prominent positions who took advantage of the

plaintiff and treated her less than for performing well.

      192. The relationship between TMX and lAA appears to create conflict of

interest and abusive practices within itself. lAA's involvement with the TMX

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accounts gives lAA direct control of the performance results of each entity of TMX.
lAA was aware of its vendor's conduct when he repossessed a vehicle without

verifying the entire VIN. TMX justified the termination of the Plaintiff as a result of
lAA negligence. lAA shall be liable for notfollowing repossession laws, wrongfully
recovering a vehicle,, failing to return the property, and their willingness to violate

the law that cause the Plaintiff to be subjected to the police being called on her,

defamation of her character, mental anguish, lost of wages, financial hardship, and

wrongful termination. The wrecker driver lAA assigned was acting within the scope

of his employment or contractual agreement with lAA; therefore TMX when he

wrongfully repossessed a vehicle from the Titlebucks premises without verifying 17

digits of the VIN before he transported and delivered the property to lAA of Rincon,

Georgia. LAA received property and shall be liable for its role in unlawful acts and

intentional negligence. LAA has stated their company is not aware of wrecker laws

but they are benefiting from providing the service to TMX and should be held liable

for the harm the Plaintiff has sustained.

      193. As a result of the severe and pervasive conduct by TMX, Tracey Young,

and lAA the Plaintiff has suffered damages, including, but not limited to: past and

future lost wages, pain and suffering, inconvenience, mental anguish, difficulty

concentrating, anxiety, disassociation, ciying spells, loss of enjoyment of life,

humiliation, emotional distress, and reputational harm. In addition, the plaintiff

experienced nightmares, and fear of leaving her home. Plaintiff lost her desire to have

children, feels awful of the color of her skin and being African American.
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                 194. Each assertion made by the TMX and employees are in the hands ofthe
         defendants and the proof will be subject to discovery.

                 195. WHEREFORE, plaintiff demands judgment against the defendant,

         jointly and severally. As follows:

    a.           For compensatory damages in an amount to be proven at trial;

    b.           For punitive damages in an amount to be proven at trial;

    c.           For the Plaintiff reasonable attorneys' fees and costs(if applicable)

    d.            For such other and further relief as this Court deems fair and just.

                                           Twentieth Claim for Relief
            Fraudulent Inducement, and Deceit in Violation of O.C.G.A. §51-6-1
                                fTMX of Georgia. Greg Ludwig. Steve Thomas)


Plaintiff restates^ re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.

                 196.     TMX fraudulently induced the Plaintiff from the start of her career.

         They knew the Plaintiff performance would not play a factor in any decision relating

         to any promotion and or reassignment. Each promotion of the Plaintiff was based on

         the motives by TMX senior employees and or directors. ^°For each promotion or

         reassignment the Plaintiff was told she was being promoted or reassigned, directed

         what to say on each video for promotion, and when to report to each location. She

         was given documents to sign and was instructed to have her immediate supervisor

         sign off on the document. During her entire career she never asked for a promotion

^ The Plaintiff has created a timeline of events that shows TMX business decisions correlating every promotion and or
reassignment of the Plaintiff her entire career and will be revealed at the appropriate time.
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and believed her performance was being used as the determining factor; however it
was solely based on what TMX needed atthe time for its financial benefits. The
Plaintiff believed this practice was normal but it was indeed a conspiracy TMX forced

upon the Plaintiff and enforced practices for their financial gain even if they had to

commit acts that were unlawful, deceptive, misleading and, or abusive. Employees

were allowed and believed to be trained to take advantage of customers by

misleading and/ or omitting information. The Plaintiff was placed in each entity to

correct the issue after the damages had been done. The Plaintiff connected with

consumers and they did not hesitate making the Plaintiff aware of information that

misled them whether by omission or misrepresentation of TMX service. Each and

every reassignment or promotion of the Plaintiff she discovered that customers were

misled which is a direct result of TMX failure to produce proper training material and

full disclosure of the service to its own employees. The Plaintiff was being

reassigned and promoted based on the needs of the company and not her

performance. TMX knew the Plaintiff character and physical traits were going to be

used for their employment decisions. Titlemax cannot justify a promotion of any

employee employed less than 6 months in any position especially if the employee did

not have any experience managing an entire entity with experience in the auto

industry. The Plaintiff held both and therefore she was being used as the clean up

girl. Even if an employee was hired with management and finance experience,

without experience in the used auto industry it is impossible to provide TMX service

in a truthful and ethical manner unless provided the proper time, information, real life
                                                                                      122
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experience, and resources for training. Tracy Young knew or should have known that
fraud, deception, omission and misrepresentation of facts would be practices that

would grow the business so rapidly.

      197. Defendant induced the Plaintiff by reassigning her to Savannah, Georgia

and work based upon the false representation that she would be needed in the

Savannah market for 2 weeks, she would have earned plenty of money in the market,

the Plaintiff would be trained and promoted to a District Director, and her

employment would performance base. She worked hard to prove herself year after

year only to be taken advantage of.

      198. Defendant at all times knew that the above representation was untrue,

and knew that the only way they could induce the Plaintiff to agree to employment,

promotion, and reassignment was by making promises they had no intention to fulfill

and or misled her about the terms and conditions of her employment.

      199. The plaintiff solely and whole heartedly relied upon TMX and its

employees' representation because it gave her the benefit of knowing that she would

earn more income so she would be able to provide for her mother, pay off her

property, the ability to invest in the community, and have financial security. The

Plaintiff worked so hard because she believed and accepted the information she was

told was facts.


      200.    TMX and its employees knew at the time that they made these

representations to the plaintiff that they did not have the intent of fulfilling any

promise made and intentionally, recklessly, maliciously, and consciously did so with
                                                                                       123
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the sole purpose to induce the plaintiff based upon the representation made for their
own benefit.


      201. A reasonable person under no circumstances would have moved 5

hours away from their mother who is 77 years old, leave their residence that would
own in less than 5 years, sign a second rental agreement for a living space, give up

an office that they established as the #1 office in the region to be placed in the worst

office in the region, or continued employment if they were told they would be used

to correct performance issues created by other staff members due to TMX unethical

and abusive business practices had TMX and its employees true intention been

known.


      202. The Defendants and each of them acted with their own ulterior motive

that was detrimental to the Plaintiff and should be liable for the harm the Plaintiff has

suffered.


      203. As a direct and proximate result of the Defendants' deceitful, malicious,

reckless, abusive act of fraudulent inducement the Plaintiff has suffered damages,

including, but not limited to: past and future lost wages, pain and suffering,

inconvenience, mental anguish, difficulty concentrating, anxiety, disassociation,

crying spells, loss of enjoyment of life, humiliation, emotional distress, and

reputational harm. In addition, the Plaintiff experienced nightmares, and fear of

leaving her home. Plaintiff lost her desire to have children, feels awful about the color

of her skin and being African American.



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              204. Each assertion made by the TMX and employees are in the hands of the
        defendants and the proof will be subject to discovery.

              205. WHEREFORE, plaintiff demands judgment againstthe defendant,

        jointly and severally. As follows:

   a.         For compensatory damages in an amount to be proven at trial;

   b.         For punitive damages in an amount to be proven at trial;

   c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.

                                Twenty First Claim for Relief
                       Fraud bv Misrepresentation O.C.G.A. § 51-6-2
                     (Titlemax of Georgia. Steve Thomas, Greg Ludwig)



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of this

Complaint as if fully stated herein.



              206.    TMX had an employment agreement with the plaintiff as an at- will

        employee with conditions that would be based on her performance. The Plaintiffs

        performance was not the determining factor when TMX upper management

        associate(s), senior associate(s), and or human resource associate(s) made decisions

        relating to the Plaintiffs employment for any and all promotions and or

        reassignments. The Plaintiffs employment was determined by a senior team member

        according to Ms. Allison during the hiring process. The Plaintiffs employment

        timeline correlates with changes, practices, and new developments TMX was testing,

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implementing and, or executing for financial gains that was not related to the
common practice ofsomeone working in the pawn industry. The Plaintiff race, color,
special skills, character traits, disability, and gender were considered when the
Defendants conspired against the Plaintiff in terms of her employment The

Defendants misrepresented the services the Plaintiff was hired to provide. TMX used

one of their locations as a test office for a new department, then terminated and

rehired her about 30 days later. She was reassigned to an office that had a higher

customer base of Hispanics when TMX decided to have customers to identify their

race and added a misleading question as part of the application. The special question

was directly related to what would be TMX's new venture. The Plaintiff was placed

in offices on a distinct side of town that TMX knew the probability of repossessing

good to excellent vehicles were higher because of their misrepresentation and intent

to supply inventory for Autocash; TMX used car dealership.         After the Plaintiff

became Store Manager, TMX used car dealership closed shortly afterwards.. The

branch manager from the used car dealership was employed and placed in a TMX

storefront The Plaintiffs work and performance was used to evaluate the former

branch manager of the used car dealership which led to him being assigned a district

for his new role as District Director which is referenced above.

      207. The Defendants cannot find justification for reassigning the Plaintiff 10

times during her employment Specifically five times before and five times after

becoming general manager. The Defendants cannot justify the Plaintiffstart date

Februaiy 10, 2014 in Columbus and her start date in Savannah February 10, 2020.
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TMX cannot justify the conspiracy against the Plaintiff in two different markets, with
two different District Directors, and replaced by two Caucasians. Other employees

were allowed to stay attheir same location for many years oruntil their relationship
ended with TMX. Titlemax knew that they did not intend to make employment

advancement that would have been based on the Plaintiffs performance.

       208. The Defendant at all times knew that the above representation was

misleading because they knew that there was an ulterior motive for each decision

made regarding any and all promotions and or reassignment. The defendant intended

to induce the plaintiff to act in reliance on the representations.

       209. The Plaintiff relied upon the Defendant's misrepresentation. She truly

believed that her employment with TMX was performance based and she worked

extremely hard on the clock and off the clock to meet TMX expectations year after

year. She moved and stayed in Savannah because she relied upon the statements of

TMX, Greg Ludwig, and Steve Thomas.

       210.     Defendant knew at the time that they made the representations to the

plaintiff with the intent to defraud the plaintiff for their own motive and financial

satisfaction.


       211. The Plaintiff was unaware of the misrepresentations of her employment

and relied upon the defendant's representations.

       212. A reasonable person would have accepted the defendant's

misrepresentation as facts without conducting investigation. The Defendant knew of


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        Plaintiffs strength and weaknesses when each of them conspired to take advantage of
        her when they made the representations.

              213. As a result of the severe and pervasive conduct by TMX, Tracey Young,

        Steve Thomas, and Greg Ludwig the Plaintiff has suffered damages, including, but

        not limited to: past and future lost wages, pain and suffering, inconvenience, mental

        anguish, difficulty concentrating, anxiety, disassociation, ciying spells, loss of

        enjoyment of life, humiliation, emotional distress, reputational hann. In addition, the

        plaintiff experienced nightmares, fear of leaving her home. Plaintiff lost her desire to

        have children, feels awful of the color of her skin and being African American

              214. WHEREFORE, plaintiff demands judgment against the defendant,

        jointly and severally, As follows:

   a.         For compensatoiy damages in an amount to be proven at trial;

   b.         For punitive damages in an amount to be proven at trial;

   c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.


                               Twenty Second Claim for Relief
                          Negligence Violation of Q.C.G.A, 51-12-33
 (Jason Broce. Clay Alexander. Nathaniel Anderson. Erin Fritts. Greg Ludwig. Steve
                           Thomas. Tracv Young. TMX. and lAA'^



Plamtiff restates, re-alleges, and incorporates by reference all other Paragraphs of

this Complaint as if fully stated herein



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      215. TMX of Georgia had a duty of care to ensure the plaintiff was working
in a safe facility. In the past, there have been many robberies and the company failed
to make changes to ensure the safety of employees and customers. TMX knew or

should have known that cameras should have been installed on the exterior of each

building in the event of something happening there that could or would cause harm

to their employees and or customers.

      216. Greg, Steve, and Tracey Young neglected their duties to ensure Titlemax

of Skidaway Road Savannah, GA was a safe place for the plaintiff to work free of

discrimination, retaliation, harassment, and intimidation. They carried out unlawful

acts a reasonable person would not expect by their supervisor(s), the Human

Resource associates or the company itself. After reaching out for help many times in

the month of September the defendant's intentionally neglected their duty to ensure

that the facility and premises were located at 2800 Skidaway Road, Savannah, GA.

On Oct 6, 2020 the Plaintiff was injured at TMX #2 of Savannah, Georgia. The

Defendants conspired to enforce an unfit for duty scheme instead of taking

accountability for their willful negligence. The Defendant's ensured a Caucasian

female had the proper security equipment installed after the Plaintiffs life was

endangered. TMX could not provide a lawful reason as to why the same measures

were not taken to protect the Plaintiff and the other African American working at the

location.


      217. Nathaniel Anderson neglected his responsibility to ensure a proper

investigation and due process was given to the Plaintiff before he made a decision
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that he knew would harm the Plaintiff. Nathaniel Anderson's action cannot be

justified.

       218. Tracy Young knew or should have known each of the facilities thatwere

established and or operating as Titlemax of Georgia should havebeen equipped with

security devices to ensure the safety of all relationships and partnerships formed with

his organization. He should have known that it was unsafe to operate a business that

allows thru traffic behind the building without the proper security equipment.

Because of the nature of business at all times employees should be able to know what

is happening on the premises while they are working on the inside of the building

due to the nature of TMX business, the history of traumatizing events at several

business locations, and because each person's life is valuable. Tracy Young failed to

take precautionary measures to ensure the safety of the Plaintiff or provide a

contingency plan in the event her life was endangered while performing her duties at

his business location. He has also neglected his duty to ensure the Plaintiff was not

retaliated, harassed, and discriminated against for reporting the activity that

traumatized her, for taking a leave of absence, and made mockery of because of the

event of on October 6, 2020 after he was made aware.

       219. The staff members of TMX Human Resource Department neglected their

duties to ensure the Plaintiff workplace was free of discrimination, retaliation,

harassment, buUying, intimidation, and other abusive and unlawful acts. Each of

them aided and abetted, participated and or supported the others unlawful and

abusive acts. No one employee acted alone while executing the continuous patterns
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of unlawful and abusive acts. Each of them violated the Plaintiffs right of due

process. Each of them conspired, malicious, outrageous, and reckless acts were

intended to harm and injure the Plaintiff.

      220. The plaintiffwas unsuccessful when she requested to meet on many

occasions to discuss her concerns. Each time the Plaintiff made a request it was

ignored. Instead, the Defendants intentionally harassed and bullied the plaintiff till the

day she was escorted off the premises after being wrongfully terminated.

      221.    Insurance Auto Auction is responsible for the events that led to

wrongful repossession causing the Plaintiff to be held responsible for something she

did not do. lAA neglected to give their driver the V.I.N number to verify the vehicle

that was delivered to their location on June 9, 2021. LAA refused to return the

property and they are liable for their negligence resulting in wrongful termination,

pain, and suffering the Plaintiff has experienced.

      222. As a direct and proximate result of the negligence by the TMX and lAA,

by and through its employees, and staff members and the Human Resource and

Benefit Department, the Plaintiff has suffered damages, including, but not limited to:

past and future lost wages, pain and suffering, inconvenience, mental anguish,

difficulty concentrating, anxiety, disassociation, crying spells, loss of enjoyment of

life, humiliation, emotional distress, reputational harm. In addition, the plaintiff

experienced nightmares, fear of leaving her home. Plaintiff lost her desire to have

children, and feels awful for being an African American female.



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              223. The defendant and each of them acted with their own ulterior motive that

        was detrimental to the Plaintiff and should be liable for the harm the Plaintiff has

        suffered.


              224. Each assertion made by the TMX and employees are in the hands of the

        defendants and the proof will be subject to discovery.



              225. WHEREFORE, plaintiff demands judgment against the defendant,

        jointly and severally, as follows:

   a.         For compensatory damages in an amount to be proven at trial;

   b.         For punitive damages in an amount to be proven at trial;

   c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

   d.          For such other and further relief as this Court deems fair and just.

                        Twenty Third Claims for Relief
               Civil Conspiracy in Violation of O.C.G.A. S16-4-8
TMX. Steve Thomas. Greg Ludwig. Carlev Bragg. Kelly Cummings. Erin Fritts. Doe
                                               lz5



Plaintiff restates^ re-alleges, and incorporates by reference all other Paragraphs of

this Complaint as if fully stated herein

              226. Plaintiff is informed and believes and thereon alleges that

        Defendants, and each of them, entered into an agreement under Titiemax and

        Tracy Young agreed to or with knowingly minds to accomplish that goal through

        one or more unlawful acts of fraud, collusion, misrepresentation, as alleged. The

        Plaintiff suffered harm as a result of Defendants' conduct and conspiracy.
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      227. Defendants of Titlemax had an independent duty to the Plaintiff not to

engage in conduct as alleged in the above paragraphs and not to conspire to commit
acts that violate the Plaintiffs rights. The Defendants of TMX

      228. The Defendants of Titlemax consciously, willingly, intentionally,

maliciously, and recklessly conspired to use the Plaintiff for their own financial

benefit by using methods of misrepresentation, fraud by inducement, power

harassment, omission of facts and intentional negligence. From the start of the

plaintiff's career she was targeted and subjected to work conditions that violated labor

laws, business ethics laws, and her civil rights. Titlemax cannot claim a performance

based company when the Plaintiff was being placed in the worst offices for meeting

or exceeding expectations. Human Resource, regional and district directors were

direcdy involved in all acts of conspiracy.

      229. The Defendants and each of them conspired to commit a pattern of

fraud, defamation, misrepresentation, discrimination, retaliation, harassment, and or

negligence on behalf of Titiemax of Georgia. Titiemax of Georgia has engaged in a

series of schemes and conspiracies. Each Defendant should be held accountable for

the unlawful acts committed.


      230. The defendant and each of them acted with their own ulterior motive that

was detrimental to the Plaintiff and should be liable for the harm the Plaintiff has

suffered.


      231. As a direct and proximate consequence of the Defendants' conspiracy.

Plaintiff has been injured and caused the Plaintiff to suffer compensatory damages.
                                                                                       133
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                232. Defendants' conduct as alleged was done for their own individual

        interests, and was willful, intentional, malicious, deliberate, and oppressive, and done

        with conscious and with disregard of the consequences and with intent to harm. The

        Plaintiff is entitled to an award of punitive damages from Defendants and each of

        them and sufficient to punish, penalize and deter the Defendants from engaging in

        such conduct in the future.


                233. As a proximate result of the wrongful acts of Defendants, and

        each of them. Plaintiff has been damaged in a sum according to proof and for

        attorney's fees, costs, and interest according to proof.

                234. WHEREFORE, plaintiff demands judgment against the defendant,

        joindy and severally, as follows:

   a.           For compensatory damages in an amount to be proven at trial;

   b.           For punitive damages in an amount to be proven at trial;

   c.           For the Plaintiff reasonable attorneys' fees and costs(if applicable)
            1




   d.           For such other and further relief as this Court deems fair and just.

                                  Twenty Fourth Claim for Relief
                       Due Process in Violation under 42 U.S.C. ^ 1983)
  (TMX. Nathaniel Anderson. Erin Fritts. Steve Thomas, Grea Ludwia. and Doe 1-5)



Plaintiff restates, re-alleges, and incorporates by reference all other Paragraphs of

this Complaint as if fully stated herein

                235. The Plaintiff had an expectation of continued employment with TMX

        although she was employed as an art will employee. TMX abruptly ended their
                                                                                             134
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     relationship with the Plaintiff without a notice and the right to beheard. TMX
     accused the Plaintiff of violating a policy that did not exist. There was not a policy

     that held the Plaintiff responsible for all errors of white employees or responsible for

     emails sent by an employee from their own personal email address, or a policy that
     stated the Plaintiff would be held responsible for unlawful acts by a third party.

           236. Nathaniel Anderson, Greg Ludwig, Erin Fritts, Steve Thomas, and

     TMX deprived the Plaintiff of her constitutional right to work without due process.

           237. The termination of the Plaintiff by TMX 2 hours before the close of

     business and the deprivation of her constitutional right to due process was an act of

     conspiracy and retaliation. It was done recklessly, negligently, intentionally, ill will

     and/or with no regards to the Plaintiff federally protected rights.

           238.    The termination of the Plaintiff without notice for allegedly violating

     policy and the opportunity for her to be heard is a violation of her due process rights

     pursuant to 42 U.S.C. § 1983.

239. WHEREFORE, plaintiff demands judgment against the defendant, jointiy and

     severally, as follows:

a.         For compensatory damages in an amount to be proven at trial;

b.         For punitive damages in an amount to be proven at trial;

c.         For the Plaintiff reasonable attorneys' fees and costs(if applicable)

d.          For such other and further relief as this Court deems fair and just.

                                   Question to the Court




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Plaintiff restates, re-alleges, and incorporates by reference allother Paragraphs of
this Complaint as if fully stated herein.

   240. TMX business practices are unfair, unlawful, and unethical. TMX has presented a

      one sided arbitration agreement that is procedurally and substantively

      unconscionable. TMX is attempting to use the agreement as a weapon. TMX and its

      attorney knowingly and willingly gave false information to EEOC, omitted

      important information, and asserted information that cannot be proven with the intent

      to mislead the EEOC, have the Plaintiff complaint dismissed, and to stereotype the

      Plaintiff because she is an African American female. The Plaintiff has never seen or

      reviewed the document until 2022. It has a computer generated signature that the

      Plaintiff did not sign and cannot be proven that the Plaintiff signed. The Plaintiff did

      not sign any documents when she returned to work March 2015 after being

      terminated by TMX for one month. The Plaintiff was not a new employee after being

      employed for 1 year and at no point during the Plaintiff career did any employee of

      TMX present, review, discuss, mention, or disclose this document. The Plaintiff

      returned to work the same day TMX had to have placed the electronic signature on

      the document therefore it could not have been negotiated or discussed with an

      attorney. The plaintiff did not have to go through the 30 minute on boarding, she

      only submitted driver license and auto insurance.

   241. TMX has and definitely had the ability to backdate their system; and has done so

      in the past in 2015, therefore someone other than the Plaintiff signed this agreement.

      At no point did HR provide the Plaintiff with this document nor did the Plaintiff
                                                                                           136
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   have access to it. After reviewing this document the Plaintiff does not know exactly

   what the document is for, lacks complete understanding of agreement, and this is the

   first time the plaintiff has heard of an arbitration; which led the Plaintiff to research.

   From doing a litde research the Plaintiffs understand that anyone signing the

   agreement is agreeing to allow TMX to violate their rights legally. If so this

   agreement should be held unlawful and a complete insult to every employee. Also,

   the Plaintiff does not believe the document is legal and asks the court to prevent

   TMX from generating such documents in the future intended for employees to sign

   over and give up their civil and constitutional rights that are protected by the laws of

   the land. The Plaintiff would never sign anything that would allow someone to

   discriminate against her because of her race and color. The Plaintiff is from Tuskegee,

   AL; the birthplace of Rosa Parks. She learned how to drive on the Tuskegee Airman

   landing strip, and was one of the last babies bom in 1987 at John Andrews's hospital

   in Tuskegee where syphilis was injected into patients. One thing the Plaintiff was

   taught growing up in a historic black community was that she would face

   discrimination due to her race and the color of her skin. Like those before her she

   also would have to stand up for her rights because they would be violated at some

   point in her life. This is not an agreement the Plaintiff would not have signed for a

   million dollars. It specifically says race discrimination and goes against what she has

   been taught her entire life growing up in Tuskegee, AL.

242. At the appropriate time, the Plaintiffshall ask the court for understanding of the

   agreement, the purpose and legality of the agreement, the effects it has on the
                                                                                           137
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         complaints athand, and does the agreement allow Titlemax to knowingly and
         willingly give false information to a federal agency? TMX attorney said he will

         compel it and the Plaintiff beheves in effort to deter her from seeking relief, change

         so other employees of Tidemax would not experience what the plaintiff has

         experienced during her employment, and to run away from the non factual statements

         they have alleged in their position statement that they know without a doubt can't be

         proven.


                                 Injunctive and Declaratory Relief

WHEREFORE, Plaintiff Gordelius Brown prays that the Court grant the following

relief


If the court does not grant injunctive relief future employees of Titlemax will suffer and no

one should be abused the way the Plaintiff was abused. The plaintiff will be harmed if relief

is not granted. There is no law available to redress the wrongs addressed in this complaint

and no other employee should ever have to go through what the Plaintiff endured. It's time

for a change. Change is the only way.

   a.          For a declaration that Defendants' actions, policies, and practices as alleged

               herein are unlawful and the Defendants to deny allegation.

   b.          Plaintiff requests that this Court issue a preliminary injunction and permanently

               prohibit Defendants from continuing to fail to pay all wages, including

               bonuses owed to former-employees, changing the pay rate of General manager,

               and classifying general manager as exempt or nonexempt employees at their

               own discretion.

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c.       The Tennination of Carley Bragg and all Human Resource associates

         mentioned in this complaint and replaced with at leastthree graduates of

         HBCU regardless of race, gender, disability, national origin or sexual

         orientation.


d.       Greg Ludwig demoted to Store Manager for the rest of his employment with

         TMX or terminated, Kelly Cummings demoted to Customer Service

         Representative for a 1 year period or terminated, Steve Thomas demoted to

         General Manager position for a 3 year period or terminated, Nathaniel

         Anderson reassign to a different Region or terminated, Tabitha and Rachel

         demoted to Assistant Store Manager for a 2 year period or terminated.

e.       Order the Defendants of TMX Implement an Action Plan that allows the

         advancements and reassignments of workers based on the individual's actual

         performance or ban TMX from using the phrase "performance based" in all

         areas of business including the hiring process.

f.       Order Defendant lAA to stop wrecker service activities for TMX completely.

g.       Order Defendant TMX to allow all employees lunch breaks everyday and a

         day off or do not allow relief for any employee including Human Resource,

         Directors, etc.

h.       Order the Defendant TMX to use an outside source to investigate all civil rights

         and labor law employment complaints.




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i.       Order the Defendant to implement a system for employees to report unlawful

         conduct of senior officials of HR representatives direcdy to Tracy Young or the

         company counsel.

j.       Order the Defendant TMX to return the Plaintiff faith rock and all of her

         training she created that was deleted by Greg Ludwig that was not company

         approved or to compensate her for the destruction of materials.

k.       Order the Defendant TMX to develop and implement guidelines and policies

         to ensure due process for all employees, develop and implement extended

         training programs for underperforming general managers.

1.       Order the Defendant TMX to develop 3 month training for Store Managers

         and 5 month training for General Managers.

m.       Order the Defendant TMX to offer and or conduct an exit interview of all

         employees.

n.       Order the Defendants TMX to develop a mandatory grading/rating system for

         employees to grade/rate their Directors every 6 months and reveal the grade to

         all employees under their leadership in effort to develop a culture that truly

         represents the core values of the company and to implement extended or

         additional training and resources to correct areas the Directors that may result in

         need improvements. Directors should not be written up or terminated based on

         the result of their grades.

o.       Order the Defendant TMX to implement a General Support Department for all

         employees to have access to an internal counselor for support and review
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         employee's medical records before diagnosing any employee as suicidal or a

         threat to other employees. Involve law enforcement, medical doctor, and the

         emergency contact for all concerns pertaining to the life of a human being,

p.       Order the Defendant TMX to refrain from terminating an employee near the

         close of business and allow the deciding official identity to be known during

         termination and ensure, and cameras are placed at the outside rear of each

         facility.

q.       Order Defendants of TMX to revise and implement appropriate and effective

         measures designed to prevent discrimination, harassment, and retaliation,

         including but not limited to only policies and training for employees and

         managers;


r.       Order Defendant TMX to revise or develop appropriate and effective measures

         to receive complaints of discrimination, harassment, and retaliation,

s.       Order the Defendants TMX Close all accounts and repay customer that opened

         accounts between 2018 and February 2020 at TMX#3 of Columbus and

         refrain from doing future business at any location that is not properly licensed,

t.       Order the Defendant TMX give a public apology to customers and the

         Plaintiff.


u.       Enjoin Defendant TMX from subjecting employees to discrimination and

         harassment based protected class and retaliating against employees who engage

         in activity protected under Tide VII, ADA, and FMLA.

                                     Prayer for Relief
                                                                                       141
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 1. For lost wages, penalties and all other compensation denied or lost to Plaintiff
    by reason ofDefendants' unlawful actions, in an amount to be proven at trial;
 2. For interest on lost wages, compensation, and damages, including pre- and

    post-judgment interest

 3. For compensatory damages for the Plaintiff emotional pain and suffering, in an

    amount to be proven at trial;

 4. For punitive damages in an amount to be proven at trial

 5. Award Plaintiff actual and compensatory damages to compensate the Plaintiff

    for injuries and losses caused by each person in an amount to be proven at trial.

 6. For the Plaintiff reasonable attorneys' fees and costs(if applicable)

  7. For special and general damages

 8. For such other and further relief as the Court deems necessaiy and proper in the

        public interest.

 9. For such other and further relief as this Court deems fair, and just.

  10.      TMX owes me thousands of dollars and I request that the court demand

    Titlemax to pay all of the 401k benefits she is entitled to with interest



         The Plaintiff apologizes for all lypos and errors in the Complaint It is very

        difficult for her to see words clearly due to an eye condition. She did the best

          she could. The Plaintiff requests and pleads to the Court to grant mercy,

                           compassion, understanding and patience.



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Plaintiff has Stated, alleged, and incorporated all Paragraphs of this Complaint fully

                                      JURY DEMAND


Plaintiff hereby demands a jury trial on all issues



Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing

law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3)

the factual contentions have     evidentiaiy support or, if specifically so identified, will

likely have evidentiaiy support after a reasonable opportunity for further investigation or

discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.



                                                                        Respectfully submitted.



                                       Cordelius Brown


                                                          By:   OofjUXil^ KytCXJP^
                                                                               Cordelius Brown
                                                                    12012 Middleground Road
                                                                                    Apt. B198
                                                                          Savannah, GA 31419
                                                                               (706) 464-1105
Dated:




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                  Case 4:22-cv-00082-WTM-CLR Document 1 Filed 04/06/22 Page 144 of 144
 EEOCFonn 161 (11/2020)                  U.S. Equal Employment Opportunity Commission

                                                 Dismissal and Notice of Rights
To:       Cordelius Brown                                                              From;       Savannah Local Office
          12012 MIDDLEGROUND ROAD, Apt B198                                                        7391 Hodgson Memorial Drive
          Savannah, GA 31406                                                                       Suite 200
                                                                                                   Savannah, GA 31406


                            On behalf ofperson(s) aggrieved whose identity Is
                            CONFIDENTIAL (29 CFRS1601.7(a))
 EEOC Charge No.                               EEOC Representative                                                      Telephone No.

                                               Chantel Tucker,
415-2021-00727                                 Investigator                                                             (912) 920-4266
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The foots alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not othenwise covered by the statutes.

      •          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
                 The EEOC Issues the following detemnination: The EEOC will not proceed further with its investigation, and makes no
                 detemiination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other Issues that might be constnjed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                        • NOTICE OF SUIT RIGHTS -
                                                  (See the additional information attached to this fomi.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limitfor filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears f3 vears)
before you file suit may not be collectible.

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                                                                        -OS'OO'          '                           1/14/2022
Enclo8ures(s)                                                                                                                 (Date Issued)
                                                                   Omayra Padilla,
                                                                          Director
cc:         Alexandra Tropea                                                          Tim McConnell
            Director Employment Counsel                                               Bass, Berry & Sims PLC
            TIMX Finance Family of Companies                                          900 S GAY ST
            15 BULL ST                                                                STE 1700
            STE 200                                                                   Knoxviile, TN 37902
            Savannah, GA 31401
